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EXHIBIT “A”
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SDAg

C #301684, Naples, FL
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FRANCHISE AGREEMENT
ALLIED DOMECQ QUICK SERVICE RESTAURANTS

This Franchise Agreement is dated Aus ust LY , 2001, and made by and between
DUNKIN' DONUTS INCORPORATED (hereinaffér "DUNKIN' DONUTS" or “FRANCHISOR’), a

Delaware corporation, with principal officés in Randolph, Massachusetts and the following individual(s)
and/or entity:

CARDILLO CAPITAL, INC., a Delaware corporation
(hereinafter individually or collectively referred to as "FRANCHISEE")

This Franchise Agreement includes the Contract Data Schedule, General Terms and Conditions
designated as ("ADQSR110100") and the Special Terms and Conditions identified in Item "J" of the
Contract Data Schedule below.

CONTRACT DATA SCHEDULE

A. Location of the Franchised Unit (the “Premises"):

3795 Tamiami Trail East Naples Florida 34112

(number) (street) (city or town) (state) (zip code)
B. Term: in the case of an existing Unit, until December 2, 2011.
Cc. Initial Franchise Fee: nla dollars ($ )
D. Grand Opening Fee: nla dollars ($ }
E. Continuing Franchise Fee Rate: Four and Nine tenths percent (4.9%) of Gross Sales
F. Minimum Continuing Advertising Fee Rate: Five percent (5.0%) of Gross Sales
G. Refurbishment Date: in the case of an existing unit, on September 23, 2008

Remodel Date: In the case of an existing unit, on September 23, 2003
H. Transfer Fee: As provided in subsection 10.4 of the General Terms and Conditions, unless another

amount is inserted here: NO CHANGE

1. Address for notice to FRANCHISEE shall be at the Unit Premises, unless another address is inserted
here: — 33 (ecol St, us Elev, SoS {bo MA Cdi04

J. Special Terms and [“] Special Terms and Conditions Applicable to a Dunkin’ Donuts Franchise
Conditions:

[“] Additional Provisions fora Dunkin’ Donuts Manufacturing Retail Unit(a Full-

Producing Unit)

K. The Designated Representative for this Unit is Rober ev. Card { | oO
[print full name above]

L. Arbitration under this Agreement shall be initiated in the city and state of Miami, Florida
M. lf applicable, the “Producing Unit" for this Dunkin’ Donuts Unit is the Dunkin’ Donuts manufacturing unit
located at ola

(insert address if this Unitis a Dunkin’ Donuts non-producing unit; otherwise insert "not applicable").

Form last revised 10/02/99

Allied Domecq QSR corporations are EOE and AA Employers
(Franchisees are not employees)
ADQSR-110100

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FRANCHISE AGREEMENT
© November, 2000

GENERAL TERMS AND CONDITIONS

INTRODUCTION

Baskin-Robbins USA Co., a California corporation (“BASKIN-ROBBINS”), Dunkin’? Donuts Incorporated, a
Delaware corporation (“DUNKIN’ DONUTS”) and Togo’s Eateries Inc., a California corporation (‘TOGO’S”) are indirect
wholly-owned subsidiaries of Allied Domecq PLC, a publicly-traded United Kingdom company. To take advantage of
synergies between them, the three subsidiaries share certain common field and support personnel and form an unincorporated
‘division called “Allied Domecq Quick Service Restaurants”. As a result of the expenditure of time, effort and money, each
subsidiary has acquired experience and skill in the development and operation of food service establishments using distinctive
systems and techniques for the production, distribution, merchandising and sale of branded food products, including, without
limitation, Baskin-Robbins® ice cream, yogurt and novelties, Dunkin’ Donuts® donuts, coffee and freshly baked goods, Tago’s®
fresh sandwiches, salads and deli platters, and other unique and distinctive products, services and business methods (hereinafter
each called a “System” and collectively called the “Systems”).

The distinguishing characteristics of these Systems include, without limitation, distinctive exterior and interior design,
decor, color and identification schemes and furnishings; specially designed manufacturing and. merchandising equipment;
unique and proprietary information technologies and software; special menu items; standards, specifications and procedures for
operations, manufacturing, distribution and delivery; quality of products and services offered; management programs; training
and assistance; and marketing, advertising and promotional programs, all of which may be changed, supplemented, improved
and further developed from time to time by FRANCHISOR as new learning and best practices are identified and incorporated.

DEFINITIONS

As used throughout this Agreement, the following defined terms shall have the following meanings:

A. The "Proprietary Marks" are certain proprietary interests, trademarks, service marks, logos, emblems, trade dress
and other indicia of origin and trade names, which identify for the public the source of goods and services marketed
thereunder and represent to the public high and uniform standards of quality, cleanliness, appearance and service,

including, without limitation, Dunkin’ Donuts® owned or controlled by DUNKIN’ DONUTS, Baskin 31 Robbins®

owned or controlled by Baskin-Robbins Incorporated (“BRI”), and TOGO’S® owned or controlled by TOGO’S, all of
which are registered trademarks on the Principal Register of the United States Patent and Trademark Office.

B. “FRANCHISOR” refers to Dunkin’ Donuts Incorporated with respect to the Dunkin’ Donuts System, Baskin-
Robbins USA, Co., with respect to the Baskin-Robbins System and Togo’s Eateries, Inc. with respect to the Togo’s System.

Cc. “FRANCHISEE” means the person(s) or entity who signed this Agreement, which may include a sole proprietor, all
partners of a general partnership, a corporation or a limited liability company (“LLC”). No person or entity may claim an
interest in this Agreement or any Franchise granted. hereby without FRANCHISOR’s prior written approval.

D. The “Unit” means the branded food service establishment, including the fixtures, furnishings, equipment, inventory
and supplies located therein and/or attached thereto, operated by FRANCHISEE pursuant to this Agreement. If this
Agreement authorizes more than one brand, the term “Unit” shall refer to all branded operations authorized hereby, unless such
reference is expressly limited to any one brand.

E. The “Premises” means the land and building or the area within a building, as the case may be, which is (i) approved
by FRANCHISOR, (ii) dedicated to the operation of the Unit, and (iii) in the exclusive possession and control of
FRANCHISEE. Some portion of the Premises may be under shared possession or control, if approved by FRANCHISOR.

F, The term "Lease" means the document by which FRANCHISEE occupies and controls the Premises, whether the
landlord is a third-party or FRANCHISOR, or one of its subsidiaries or affiliates.

G. "Gross Sales" means and includes all revenue from the sale of all products and services and all other income of every
kind and nature related to the Unit, whether for cash, by redemption of gift certificates or for credit, regardless of collection;
provided, however, "Gross Sales" does not include the incidental sales of gift certificates or newspapers, incidental receipts
from pay telephones, or any sales taxes or other taxes FRANCHISEE collects from customers for transmittal to the appropriate
taxing authority.

H. The “Designated Representative” is the person from time to time designated by FRANCHISEE as being responsible
for the day-to-day operation of the Unit. The Designated Representative must meet FRANCHISOR’s then-current
qualifications, including, without limitation, successful completion of FRANCHISOR’s training, and must be authorized to act
for and bind FRANCHISEE in all dealings with FRANCHISOR with respect to the day-to-day operation of the Unit. The
initial Designated Representative is identified in Item “K” of the Contract Data Schedule of this Agreement.

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I. The “Standards” are requirements, specifications, criteria, guidelines, processes, techniques and standards which
are from time to time established and revised by FRANCHISOR with respect to selection and development of the Premises,
operation of the Unit and other aspects of each System. Examples of “Standards” are, without limitation, requirements and
criteria for developing the Unit; specifications for the facility, equipment and products; business processes and techniques
for the operation of the Unit; and guidelines and standards for quality, cleanliness, appearance and service.

Section 1. Grant of the Franchise and Term

1.0 This Agreement grants to FRANCHISEE the tight, subject to all of the terms and conditions hereinafter set forth, to
operate a Unit solely at the Premises described in Item “A” of the Contract Data Schedule of this Agreement, including the
Tight to use, solely in such Unit, the System or Systems and Proprietary Marks described in the Special Terms and Conditions
attached to and made a part of this Agreement (the “Franchise”). The term of this Agreement shall begin on the date hereof
and shall end on the date described in Item "B" of the Contract Data Schedule; provided however, the Franchise shall
commence upon the occurrence, of all of the following conditions prior to the initial opening of the Unit or the transfer of the
Unit, as the case may be:

1.0.1 Training. FRANCHISEE and its Designated Representative must successfully complete the then-current training
program required by FRANCHISOR at one or more of FRANCHISOR’s training centers located in Massachusetts, California
or at other locations from time to time designated by FRANCHISOR. This requirement may be waived or modified by
FRANCHISOR, in whole or in part, in its sole discretion, if FRANCHISEE or its Designated Representative has had
comparable training or on-the-job experience.

1.0.2 Financing. Upon request by FRANCHISOR, FRANCHISEE must deliver evidence to FRANCHISOR that
FRANCHISEE has obtained binding commitments for all financing needed to develop and/or operate the Unit.

1.0.3. Documents, FRANCHISEE must execute and deliver to FRANCHISOR all documents related to this Franchise
customarily required, in then-current form, as provided by FRANCHISOR.

1.0.4 Payment, FRANCHISEE must, prior to opening or transferring the Unit (as the case may be) pay FRANCHISOR
any and all moneys due, including, but not limited to, purchase price, fees, inventory, rent and/or security deposit, if required
under the Lease.

1.0.5 Possession, FRANCHISEE must have the exclusive right to occupy and use the Premises for at least the term of this
Agreement, whether FRANCHISEE owns the Premises, or leases the Premises pursuant to either (a) a Lease with a third party
landlord on terms satisfying FRANCHISOR's then current lease policy and containing provisions required by FRANCHISOR;
or (b) a Lease with FRANCHISOR or an affiliated entity.

1.0.6 For a New Unit. If this Unit is newly developed, FRANCHISEE must, prior to the Unit’s initial opening, comply
with all provisions of the Special Terms & Conditions attached to this Agreement relating to new unit development (Schedule
“F/D” or “C/D”, as applicable).

11 The term of this Agreement shall expire without notice upon any earlier expiration or termination of a Lease,
foreclosure of a mortgage, or other event which has the effect of terminating FRANCHISEE's possession and occupancy of
the Unit.

1.2 FRANCHISEE represents and warrants that FRANCHISEE and each individual. partner, member and/or
shareholder of FRANCHISEE, as the case may be, is a United States citizen or a lawful resident alien of the United States;
that, where applicable, the FRANCHISEE entity (corporation or LLC) is and shall remain duly organized and in good
standing during the term of this Agreement; and that all financial and other information which FRANCHISEE has
provided to FRANCHISOR in connection with FRANCHISEE's application for this Franchise is true and. accurate,
FRANCHISEE’s representations and warranties under this paragraph 1.2 are a material inducement to FRANCHISOR’s
grant of the Franchise to FRANCHISEE. .

Section 2. Services Furnished by FRANCHISOR
2.0 FRANCHISOR agrees: .

2.1 Prior to and For the Initial Opening of the Unit.

2.1.1 FRANCHISOR shall make available to FRANCHISEE Standards for the design, construction, equipping and
operation of the Unit; and

2.1.2 | FRANCHISOR shail make available to two individuals designated by FRANCHISEE, one of whom must-be a
party to or guarantor of this Agreement FRANCHISOR’s then current initial training program with respect to the operation
of the Unit, at one or more of FRANCHISOR’s Training Centers located in Massachusetts, California and/or at such other
training facility as FRANCHISOR may, from time to time, designate; and

2.1.3. FRANCHISOR shall provide its current operating procedures to assist FRANCHISEE. in complying with
FRANCHISOR’s Standards; and foes

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2.1.4 FRANCHISOR shall make available to FRANCHISEE such assistance in the pre-opening, opening and initial
operation of the Unit as FRANCHISOR shall deem advisable, based upon FRANCHISEE’s organization, prior experience
and training.

2.2 After the Initial Opening of the Unit.

2.2.) FRANCHISOR shall maintain a continuing advisory relationship with FRANCHISEE, including consultation in
the areas of marketing, merchandising and general business operations; and

2.2.2 FRANCHISOR shall provide FRANCHISEE with FRANCHISOR’s Standards for the authorized System(s), as
the same may be modified by FRANCHISOR from time to time, in its sole and absolute discretion; and

2.2.3. FRANCHISOR shall continue its efforts to maintain high and uniform standards of quality, cleanliness,
appearance and service at all units; and

2.2.4 FRANCHISOR shall make reasonable efforts to disseminate FRANCHISOR’s Standards to potential suppliers of
products at the written request of FRANCHISEE, subject, however, to specific requirements and limitations of each
authorized System.

Section 3. Advertising and Promotion

3.0 FRANCHISOR has established and administers a marketing, advertising and sales promotion fund-(the “Fund”)
for each of the Systems, and directs the development of all advertising, marketing and promotional programs for each
System. FRANCHISEE’s payments to the Fund(s) shall be used for advertising, marketing, promotion, production and
development of all advertising, marketing, promotional and other programs, product development, merchandising, public
relations, administrative expenses, programs designed to increase sales and enhance and further the public reputation of
FRANCHISOR and each applicable System, and activities related to any and all of the foregoing. The content of ail
activities of the Fund(s), including, without limitation, the media selected and employed, as well as the area and units to be
targeted for such activities, shall be at the sole discretion of FRANCHISOR. FRANCHISOR undertakes no obligation to
make expenditures for FRANCHISEE which are equivalent or proportionate to contributions paid under this Agreement or
io insure that FRANCHISEE benefits directly or on a proraia basis from activities of the Fund(s), if any. Upon request,
FRANCHISOR will provide FRANCHISEE a statement of receipts and disbursements for any Fund to which

FRANCHISEE contributes under the terms of this Agreement, prepared by an independent public accountant for each
fiscal year of the Fund.

3.1 FRANCHISEE, prior to using any advertising or promotional material that FRANCHISEE has prepared for use in
its local area, shall submit such material to FRANCHISOR for review and approval. If written disapproval of the
advertising and promotional material is not received by FRANCHISEE from FRANCHISOR within fifteen (15) days from
the date such material is received by FRANCHISOR, said materials shall be deemed approved for use by FRANCHISEE,
unless and until subsequently disapproved by FRANCHISOR, in which event FRANCHISEE will promptly discontinue
any further use thereof.

3.2 FRANCHISEE acknowledges that this Agreement grants FRANCHISEE no right to use any of the Proprietary
Marks to advertise products and/or services for order through the mail or by any electronic or other medium.
FRANCHISEE shall not, without the prior written approval of FRANCHISOR, use any of the Proprietary Marks on the
Internet or any similar electronic or other communications medium, to promote FRANCHISEE’s business and/or advertise
and/or sell products and/or services. Notwithstanding the provisions of paragraph 3.1 above, FRANCHISOR’s failure to
disapprove any request to use the Internet or any similar electronic or other medium within fifteen (15) days shall not give
FRANCHISEE the right to undertake such use. FRANCHISOR shall have the sole right to establish an Internet “home

page” using any of the Proprietary Marks, and to regulate the establishment and use of linked home pages by its
franchisees.

3.3 Special Terms and Conditions for each System authorized for this Unit are attached to this Agreement and contain
additional provisions related to advertising and promotion.

Section 4. Payments
4.0 FRANCHISEE shail pay to FRANCHISOR the following initial charges and continuing fees:

4.1. Initial Franchise Fee, - FRANCHISEE shall pay FRANCHISOR an Initial Franchise Fee in the amount set forth
in Item "C" of the Contract Data Schedule of this Agreement. Unless the Initial Franchise Fee was prepaid under the terms
of a Store Development Agreement, five thousand dollars ($5,000.00) shall be paid upon the execution of this Agreement
and the remaining unpaid balance within ten (10) days after FRANCHISEE’s receipt of FRANCHISOR’s written approval
of the Premises; provided however, if the Premises is developed by FRANCHISOR, the balance shall be due in full upon
FRANCHISEE's execution of the Lease of the Unit, or on the date FRANCHISEE or the Designated Representative
commences FRANCHISOR’s training program, whichever date is earlier.

4.2 Grand Opening Fee. - FRANCHISEE shail pay a Grand Opening Fee in the amount set forth in Item "D" of the
Contract Data Schedule of this Agreement, for a grand opening promotional advertising program or such other advertising
program as FRANCHISOR may specify. Payment shall be made in full prior to attendance by FRANCHISEE or the
Designated Representative at FRANCHISOR’s training program or thirty (30) days prior to the scheduled opening of the
Unit, whichever date is earlier, and shall be nonrefundable after the Unit commences operations.

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43 Continuing Franchise Fees - FRANCHISEE shall pay FRANCHISOR at Post Office Box 1097, Charlotte, North
Carolina 28201-1097 (or to such other address as FRANCHISOR shall from time to time advise FRANCHISEE in
writing), on or before Thursday of each week, a sum determined by multiplying the Gross Sales of the Unit forthe seven
(7) day period ending at the close of business on the preceding Saturday times the percentage set forth in Item "E" of the
Contract Data Schedule of this Agreement.

44, Continuing Advertising Fee. FRANCHISEE shail also pay, at the same time, for the same seven (7) day period,
in the same manner as, and in addition to the payments provided for under paragraph 4.3 above, the percentage set forth in
Item "F" of the Contract Data Schedule of this Agreement, of the Gross Sales of the Unit, to one or more Funds for
advertising, marketing, promotion and other purposes, as specified in Section 3 of this Agreement.

44.1. In addition, FRANCHISEE shall participate in and make additional payments to the Fund(s) with respect to all
advertising, marketing, promotion and other programs of each authorized brand at the Unit, which from time to time are
supported by two-thirds of the units of such brand in the market in which the Unit is located with respect to local programs,
-and in the continental United States, with respect to national programs.

4.4.2 If FRANCHISEE is authorized to use more than one (1) System at the Unit, fees payable under this paragraph 4.4

with respect to each System shall apply only to that portion of the Unit's Gross Sales which are applicable to that System, as
determined by FRANCHISOR.

45S If any sales, income, excise, use or privilege tax is imposed or levied by any government or governmental agency on
account of the payment of franchise or royalty fees by FRANCHISEE under this Agreement, FRANCHISEE shall pay
FRANCHISOR a sum equal to the amount of such tax as an additional royalty fee (but this provision shall not apply to federal
or state income taxes imposed upon FRANCHISOR).

4.6 FRANCHISOR shall have the right to require FRANCHISEE, upon written notice, to make payments under this
Agreement by electronic funds transfer or to a lock-box located at an independent bank. Acceptance of payment by
electronic funds transfer or to a lock-box shall not be deemed a waiver of any rights of FRANCHISOR. If FRANCHISOR
establishes a direct debit program with FRANCHISEE's bank for the electronic payment of continuing franchise and
advertising or sales promotion fees, FRANCHISEE must provide FRANCHISOR with all consents, authorizations and bank
account data necessary to effect such electronic payment.

4.6.1 FRANCHISEE must complete and deliver to FRANCHISOR such forms as may from time to time be required to
effectuate any changes as necessary to maintain EFT capability. FRANCHISEE agrees (a) to give FRANCHISOR at least
fourteen days written notice (except in the case of emergency) before making any change to FRANCHISEE's EFT bank
account, providing all information and specimens required to change EFT to the new account; (b) to pay FRANCHISOR
its then-current late fee, plus collection costs and reasonable attorney's fees, if FRANCHISEE'S bank rejects FRANCHISOR's
EFT request because of insufficient funds; and (c) upon demand, to replace EFT rejected by FRANCHISEE's bank with a

bank certified or cashier's check in the aggregate amount owed, plus interest, late fees, collection fees, costs of collection and
attomeys fees.

4.6.2 For each week that FRANCHISEE (a) submits a weekly Gross Sales report via FRANCHISOR's approved
electronic form over the Internet, and (b) pays the corresponding weekly continuing franchise and advertising fees by EFT,
FRANCHISOR will deduct the fees from FRANCHISEE's bank account on or after the Thursday twelve (12) days after the
Saturday of the week for which sales were reported. This benefit will only become available after FRANCHISOR
implements an electronic form for reporting weekly sales satisfactory to FRANCHISOR. To have this benefit available,
FRANCHISEE must have computer equipment capable of accessing and using the electronic form in the manner required.
In FRANCHISOR's discretion or due to system failure, FRANNCHISOR may elect to withdraw the electronic form. In
any such case, FRANCHISEE must immediately return to reporting Gross Sales in the manner originally required.

4.7 Late Fee, Interest_and Costs. If any payment required under this Agreement is not paid when due,
FRANCHISEE shall pay, in addition to the unpaid amount, FRANCHISOR’s then-current late fee for each unpaid invoice.
In addition, ali amounts payable by FRANCHISEE to FRANCHISOR under any provision of this Agreement, if not paid
when the same becomes due, shall bear interest from the date due until paid at the rate of one and one-half percent (1.5%) per
month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest shall be in addition to any other
remedies FRANCHISOR may have. Receipt of any check, draft or other commercial paper shall not constitute payment until
all funds therefrom are collected by FRANCHISOR. FRANCHISEE shall pay all collection charges, including reasonable
attorney's fees, on dishonored checks. At FRANCHISOR’s request, dishonored and returned checks will be promptly replaced
by FRANCHISEE by a bank certified or cashiers check in the aggregate amount owed, plus interest, late fees, collection fees,
costs of collection and attorneys fees, set forth in this Agreement.

Section 5. Covenants of FRANCHISEE

5.0 FRANCHISEE understands and acknowledges the importance to FRANCHISOR, FRANCHISEE and other
franchisees, of FRANCHISEE’s commitment to at all times operate the Unit in accordance with FRANCHISOR’s
Standards (as defined in Definitions. paragraph “I”), in order to increase the demand for FRANCHISOR's products, to protect
and enhance the reputation and goodwill of FRANCHISOR, to promote and protect the value of the Proprietary Marks and
other reasons. FRANCHISEE agrees to devote continuous best efforts to successfully develop, manage and operate the
Unit and to enhance the goodwill of the Proprietary Marks authorized by this Agreement and the System(s) as a whole.

5.0.1 If, in any consecutive twelve (12) month period, FRANCHISEE shall receive two (2) or more notices to cure any
default under this Agreement, FRANCHISOR shall have the right, in addition to all other remedies available, to require that
FRANCHISEE (in lieu of any Designated Representative) devote full time to managing the day-to-day operation of the Unit.

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5.0.2 FRANCHISEE agrees to operate the Unit in strict accordance with all of FRANCHISOR's Standards as they may be
communicated to FRANCHISEE from time to time. Standards shall be established for and distributed to franchisees generally
and/or FRANCHISEE specifically, in such form and content as FRANCHISOR may from time to time in its sole discretion
prescribe. Standards are copyrighted and FRANCHISEE shall not at any time copy, duplicate, record or otherwise reproduce
any materials, in whole or in part, which set forth the standards or other proprietary information, or otherwise make the same
available to any unauthorized person. FRANCHISEE shall at all times maintain the documents embodying the Standards at
the Unit (or at FRANCHISEE’s principal offices, if not the Unit) and shall ensure that such documents are kept current and up
to date. In the event of a dispute as to the contents of the Standards, the terms of the master copy(s) maintained by
FRANCHISOR shall control.

5.0.3 FRANCHISEE acknowledges that complete uniformity may not be possible or practical throughout the System(s)
and agrees that FRANCHISOR may from time-to time vary Standards, as FRANCHISOR may deem necessary or desirable for
the System(s) or the Unit.

5.1 Unit Operations. - FRANCHISEE shall keep the Unit open and in continuous normal operation for such hours as
FRANCHISOR shall from time to time direct, provided, however, no longer than the maximum number of hours per day
permitted by law, on all days except Christmas and Thanksgiving, unless prior written approval is obtained from
FRANCHISOR or unless FRANCHISOR otherwise directs in writing. In conection therewith, but without limitation,
FRANCHISEE further agrees as follows:

5.1.1 | FRANCHISEE shall use all products, materials, ingredients, supplies, paper goods, uniforms, fixtures,
furnishings, signs, equipment, methods of exterior and interior design and construction and methods of product storage,
handling, preparation, packaging, delivery and sale prescribed by FRANCHISOR. All such items must conform to
FRANCHISOR's Standards. FRANCHISOR reserves the right to specify any item by brand. FRANCHISEE shall carry
out the business covered by this Agreement in accordance with the operational Standards established by FRANCHISOR
and set forth in FRANCHISOR's operating manuals and other documents as they presently exist or shall exist in the future
or as may be otherwise disclosed to franchisees from time to time.

5.1.2 | FRANCHISEE shall refrain from using or selling any products, materials, ingredients, supplies, paper goods,
uniforms, fixtures, furnishings, signs, equipment and methods of product storage, handling, preparation, packaging,
merchandising, and delivery, or any other items of any kind, which do not meet FRANCHISOR's Standards. Without
limiting the generality of the foregoing, FRANCHISEE shall immediately rectify all hazardous situations, and immediately
remove and destroy any and all hazardous products. For purposes of the foregoing sentence, “hazardous situations” are
those which have the potential to cause injury, illness or death, and “hazardous products” are products which are unfit for
human consumption or which have the potential to cause injury, illness or death.

5.1.3. FRANCHISEE shall offer for sale all products that FRANCHISOR may, from time to time in its sole discretion,
designate in writing as approved for sale at the Unit. FRANCHISEE shall sell, distribute and deliver such products only in
weights, sizes, forms and packages as are approved in writing by FRANCHISOR. FRANCHISEE further agrees to
discontinue offering for sale any product that FRANCHISOR may, at any later time, in its sole discretion, by written notice
withdraw approval for sale at the Unit; and FRANCHISEE agrees to refrain from offering for sale any product or products
which have not been designated in writing as approved by FRANCHISOR for sale ‘at the Unit. FRANCHISOR may
disapprove FRANCHISEE’s sale of any product(s) or FRANCHISEE’s participation in any program(s), in the event
FRANCHISEE fails to comply with operational Standards at the Unit. FRANCHISEE shall have sole and complete
discretion as to the price FRANCHISEE charges for all products.

5.1.4 FRANCHISEE shall maintain at all times a sufficient supply of approved products to meet the demand of
FRANCHISEE’s customers at the Unit.

5.1.5 | FRANCHISEE shall purchase all food products, supplies, equipment and materials required for the operation of
the Unit from FRANCHISOR or from suppliers who (a) demonstrate, to the reasonable satisfaction of FRANCHISOR, the
ability to meet all of FRANCHISOR's Standards for such items, (b) possess adequate capacity and facilities to supply the
needs of FRANCHISEE and other franchisees in the quantities, at the times and with the reliability requisite to an efficient
operation, and (c) have been approved, in writing, by FRANCHISOR. Prior to purchasing any items from any supplier not
previously approved by FRANCHISOR, FRANCHISEE shall submit to FRANCHISOR a written request for approval of
the supplier. FRANCHISOR may require that samples from the supplier be delivered to FRANCHISOR or to a designated
independent testing laboratory for testing prior to approval and use. FRANCHISEE shall pay FRANCHISOR a fee not to
exceed the actual cost of the test; provided, however, no fee shall be charged for the first test requested by FRANCHISEE
in any calendar year. This paragraph is subject to Special Terms and Conditions which contain additional provisions and
limitations specific to the System(s) authorized for the Unit by this Agreement.

5.1.6 | FRANCHISEE shall maintain, at all times and at FRANCHISEE's expense, the interior and exterior of the Unit
and all fixtures, furnishings, signs and equipment in the highest degree of cleanliness, orderliness, sanitation and repair, as
reasonably required by FRANCHISOR. FRANCHISEE shall make no material alteration, addition, replacement or
improvement in or to the interior or exterior of the Unit (including the parking lot and landscaped areas) without
FRANCHISOR’s prior written consent.

5.1.7 | FRANCHISEE shall comply with all civil and criminal laws, ordinances, rules, regulations and orders of public
authorities pertaining to the maintenance and operation of the Unit, including, but not limited to, those relating to health,

safety, sanitation, employment, environmental regulation and taxation.

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5.1.7.1. FRANCHISEE agrees to maintain as business records provided in subsection 5.2 below. and to furnish to
FRANCHISOR within five (5) days after receipt of written demand therefor, copies of all customer complaints and notices,
warnings, citations, inspection reports and other communications related to the Unit from public authorities.
FRANCHISEE hereby authorizes any such public authority to provide FRANCHISOR with copies of such notices and/or
communications. If any suit, investigation or other legal proceeding related to FRANCHISEE's business should be
commenced by or against FRANCHISEE, FRANCHISEE shall immediately notify FRANCHISOR thereof and keep
FRANCHISOR continuously advised of the status of the matter.

5.1.8 FRANCHISEE shall manage the Unit at all times with at least two (2) individuals, one of whom must be
FRANCHISEE, or a partner, shareholder or member of FRANCHISEE, either of whom must be the Designated
Representative and both of whom must have successfully completed FRANCHISOR’s training program. Both individuals
must have literacy and fluency in the English language sufficient, in FRANCHISOR'’s opinion, to satisfactorily complete
FRANCHISOR’s training program and to communicate with employees, customers, and suppliers. If FRANCHISEE
operates more than one unit, FRANCHISOR requires that each additional unit be managed by a Designated Representative
approved by FRANCHISOR.

5.1.8.1 In the event of any resignation, termination, disability, death or other incapacity of the Designated Representative,
FRANCHISEE shall notify FRANCHISOR in writing of the name of a qualified successor Designated Representative as soon
as possible, but in no event later than two (2) months after such event.

5.1.8.2 FRANCHISEE shall hire, train and supervise efficient, competent and courteous employees of good character for
the operation of the Unit and shall ensure that all such employees are trained in accordance with FRANCHISOR's training
procedures. FRANCHISEE is solely responsible for hiring and discharging employees of the Unit, and for setting their wages
and terms of employment. FRANCHISEE shall ensure that all employees whose duties include customer service have
sufficient literacy and fluency in the English language to adequately serve the public in the Unit. FRANCHISEE (or the
Designated Representative, as specified by FRANCHISOR) shall attend, and FRANCHISEE shall require employees at the
Unit to attend, such further training as FRANCHISOR shall from time to time reasonably require. The cost of training
materials, salaries, accommodations and travel expenses, if any, of FRANCHISEE or any other individual employed in the
Unit will be borne entirely by FRANCHISEE. FRANCHISEE will bear the cost of all training programs except
FRANCHISOR’s initial training program referred to in paragraph 2.1.2 of this Agreement.

5.1.9 FRANCHISEE shall accurately report all Gross Sales to FRANCHISOR and implement all procedures
recommended by FRANCHISOR to minimize employee theft. FRANCHISEE further acknowledges and agrees that
employee theft shall not relieve FRANCHISEE of the obligation to make all payments to FRANCHISOR based on Gross
Sales pursuant to Section 4 of this Agreement and that accurate reporting of Gross Sales requires, among other things,
compliance with all Standards related thereto and recording all sales at the time the product is delivered to the purchaser,
including, without limitation, retail, wholesale and bulk discount sales, whether for cash, by redemption of gift certificates
or coupons, or sales for which payment may be deferred.

5.2 Books, Records and Reports. FRANCHISEE shall keep full, complete and accurate books and accounts with
respect to the Unit, in accordance with generally accepted accounting principles and all requirements of law and in the form
and manner prescribed below or as from time to time further prescribed by FRANCHISOR. Commencing upon the
opening of the Unit:

5.2.1 | FRANCHISEE shall submit to FRANCHISOR, on or before Thursday of each week, on a standard form approved
by FRANCHISOR, a signed statement of Gross Sales at the Unit for the seven (7) day period ending at the close of
business on the preceding Saturday, along with all moneys required to be paid under Section 4 of this Agreement.

5.2.2) FRANCHISEE shall submit to FRANCHISOR, on a standard form approved by FRANCHISOR, within forty-five
(45) after the close of each of FRANCHISEE’s calendar or fiscal month, a profit and loss statement of the Unit for said
monthly period.

5.2.3. FRANCHISEE shall submit to FRANCHISOR, on a standard form approved by FRANCHISOR, within forty five
(45) days after the close of each applicable period, a profit and loss statement prepared in accordance with generally
accepted accounting principles, along with a balance sheet (including a statement of retained earnings or partnership
account) (i) for the first six (6) months of each of FRANCHISEE’s fiscal year; and (ii) for the full twelve (12) months of
each of FRANCHISEE’s fiscal years. FRANCHISOR shall have the right, in its sole discretion, to require that such annual
financial statements be certified by an independent certified public accountant or such other independent public accountant
acceptable to FRANCHISOR.

5.2.4 FRANCHISEE shall submit to FRANCHISOR, at the times and in the form required, such other periodic reports
and information as may from time to time be prescribed by FRANCHISOR.

5.2.5 FRANCHISEE shall preserve, in the English language and for the time periods set forth below, all books, tax
returns, accounting records and supporting documents relating to the FRANCHISEE's business operations at the Unit
(hereinafter called the "Records"), including but not limited to:
a. daily cash reports;
. cash receipts journal and general ledger;
cash disbursements journal and weekly payroll register;
. monthly bank statements, and daily deposit slips and canceled checks;
all business tax returns;
suppliers invoices (paid and unpaid);

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. dated cash register tapes (detailed and summary);
. semi-annual balance sheets and monthly profit and loss statements;
weekly inventories;
records of promotion & coupon redemptions;
. such other records and information as FRANCHISOR may from time to time request.

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FRANCHISEE shall be permitted to preserve Records and submit reports electronically, in accordance with
FRANCHISOR’s Retail Information System ("RIS") and/or other requirements, or otherwise with the prior written
approval of FRANCHISOR. During the term of this Agreement, FRANCHISEE shall preserve and make available to
FRANCHISOR all Records for no less than the current fiscal year and the three (3) immediate-past fiscal years. For three
(3) years after the date of any transfer of any interest in this Agreement, the transferor of such interest shall preserve and
make available to FRANCHISOR all Records of its last three (3) fiscal years of operation under this Agreement. For a
period of three (3) years after the expiration of the term of this Agreement (or after any earlier termination thereof)
FRANCHISEE shall preserve and make available to FRANCHISOR all Records for the last three (3) fiscal years of
FRANCHISEE’s business operation at the Unit.

5.2.6 Retail Information System FRANCHISEE shall record all sales at or from the Unit at the time of sale, in
accordance with FRANCHISOR’s procedures and on devices, the make, mode! and serial numbers of which have been
individually approved in writing by FRANCHISOR. Such devices must record accumulated sales in a manner that cannot
be turned back or reset, and must retain data in memory storage in the event of power loss. FRANCHISEE shall, at its sole
cost and expense, upon notice from FRANCHISOR, purchase or lease and install a unit and/or network information
technology system, including computers, printers, touch heads, cash drawers, software and other equipment designated by
FRANCHISOR for the Unit (hereinafter for convenience called “RIS”), The term “RIS” includes, without limitation, all
hardware and software designated from time to time by FRANCHISOR and the data stored thereon by FRANCHISEE.
Some or all components of RIS may be licensed to FRANCHISOR and used by FRANCHISEE as a sub-licensee.
FRANCHISEE shail use RIS solely in connection with the operation of the Unit, in the manner specified by
FRANCHISOR from time to time. FRANCHISEE shall comply with such requirements determined by FRANCHISOR

from time to time regarding maintenance, training, storage and safeguarding of data, records, reports and other matters
relative to RIS.

5.2.6.1 FRANCHISEE shall, at its sole cost and expense: (a) attend, and/or cause the Designated Representative and/or
employees in the Unit to attend, such initial and other RIS training as is specified by FRANCHISOR; (b) maintain RIS in
continuous operation at the Unit; (c) purchase an ongoing maintenance and support contract from an approved supplier and
replace the RIS components as necessary, (d) upgrade RIS from time to time as may be reasonably required by
FRANCHISOR; (e) permit FRANCHISOR immediate access to RIS, electronically or otherwise, at all times without prior
notice to FRANCHISEE (such access shal] not unreasonably interfere with FRANCHISEE’s normal Unit operations); and
(f) install and maintain‘ telephone or other service required by FRANCHISOR to permit such access.

5.2.6.2 FRANCHISEE shall, at its sole cost and expense, upon FRANCHISOR’s request, replace RIS with the computers,
printers, touch heads, cash drawers, software and other equipment designated by FRANCHISOR from time to time as
FRANCHISOR’s then-current unit and/or network information system. Such replacements shall take place when deemed
advisable by FRANCHISOR given the age, cost to operate, condition of the information system then in the Unit, the then-

current and anticipated technology, the information systems then in use at other Units, the needs of the System(s), and other
factors as may be relevant.

5.2.6.3 FRANCHISOR makes no representation or warranty as to the costs, sales, or profits, if any, which may result from
the installation and use of RIS and its replacements.

5.2.7 FRANCHISOR shall treat any Records received from FRANCHISEE pursuant to this subsection 5.2 as confidential,
except that information may be released (a) to any person entitled to the same under any Lease; (b) in connection with any
court order, legal proceeding or other dispute resolution process, whether instituted by FRANCHISOR or any other party; (c}
to’a prospective transferee of any interest subject to the provisions of Section 10 of this Agreement, and (d) as incorporated into
anonymous general information disseminated to FRANCHISOR's franchisees and prospective franchisees, and in the
formulation of plans and policies in the interest of the System(s).

3.3 Insurance. FRANCHISEE shall procure, before the commencement of business, and maintain in full force and
effect during the entire term of this Agreement, at FRANCHISEE's sole expense, an insurance policy or policies protecting
FRANCHISEE and FRANCHISOR, and their directors and employees, against any loss, liability, including without
limitation employment practices liability, or expense whatsoever from, without limitation, fire, personal injury, theft, death,
property damage or otherwise, arising or occurring upon or in connection with FRANCHISEE’s operation of the Unit or by
reason of FRANCHISEE's occupancy of the Premises. ‘

5.3.1 Such policy or policies shall include:

5.3.1.1 commercial general liability insurance, including but not limited to, product, contractual, and owned and non-
owned vehicle liability coverages, with an aggregate single limit of two million dollars ($2,000,000.00) or such higher limit
as FRANCHISOR, in its sole and absolute discretion, may from time to time require, and as may be required under the
terms of any Lease or underlying lease for the Unit, for bodily injury and property damage combined; and

53.1.2 "All Risk" property damage insurance, including without limitation flood and earthquake protection, for the full
replacement cost value of the Premises and all other property within or relating to the Unit, including signs, with no
coinsurance clause and with a replacement cost clause attached; and

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5.3.1.3 plate glass insurance and, if applicable, boiler insurance; and

5.3.1.4 employer’s liability, worker’s compensation and such statutory insurance as may be required in the state in which
the Premises is located.

5.3.2 All insurance required under the terms of this Agreement (i) shall be written in the names of FRANCHISEE,
FRANCHISOR and/or other party or parties designated by FRANCHISOR, as their respective interest may appear, by
insurance companies reasonably acceptable to FRANCHISOR; (ii) shall contain provisions denying to the insurer
acquisition by subrogation of rights of recovery against any party named; (iii) shall provide that cancellation or alteration
cannot be made without at least thirty (30) days written notice to any party named; and (iv) shall not be limited in any way
by reason of any insurance which may be maintained by FRANCHISOR or any other party named.

5.3.3 During the term of this Agreement, FRANCHISEE shall promptly unless otherwise directed by FRANCHISOR,
(but in no event later than ten (10) days after any such policy becomes effective or such payment is due) furnish
FRANCHISOR with duplicate originals of all insurance policies, including renewal and replacement policies, together with
evidence that all premiums have been paid. If at any time FRANCHISEE fails to comply with the provisions. of this
subsection 5.3, FRANCHISOR, in addition to all other remedies. available, shall have the right (but not the obligation) to
obtain and/or maintain such insurance with respect to the Unit and/or Premises, at FRANCHISEE's sole expense.
FRANCHISEE shall pay FRANCHISOR when and as billed for the cost of premiums therefor. Maintenance of insurance
and FRANCHISEE's performance of the obligations contained in this subsection 5.3 shall not relieve FRANCHISEE of
liability under the indemnity provisions set forth in paragraph 5.4 below.

5.3.4. Each of the parties hereby waives any and all rights of recovery against the other parties hereto, or against the
officers, employees, agents, and representatives of such other parties, for damage to such waiving party or for loss of its
property or the property of others under its control to the extent that such loss or damage is insured against under any insurance
policy in force at the time of such loss or damage. FRANCHISEE shall, upon obtaining the polices of insurance required
hereunder, give notice to the insurance carrier or carriers that the foregoing mutual waiver of subrogation is contained in this
Agreement.

5.4 Indemnification, FRANCHISEE shall save, defend, exonerate, indemnify and hold harmless FRANCHISOR, and
each of them, and the subsidiaries or each of them, and their respective officers, directors, employees, agents, successors and
assigns, from and against (i) any and all claims based upon, arising out of, or in any way related to the operation or condition of
any part of the Unit or the Premises, the conduct of business thereupon, the ownership or possession of real or personal
property and any negligent act, misfeasance or nonfeasance by FRANCHISEE or any of its agents, contractors, servants,
employees, or licensees, and including, without limitation, all obligations of FRANCHISEE incurred pursuant to any
provisions of this Agreement, and (ii) any and all fees (including reasonable attorneys’ fees), costs and other expenses incurred
by or on behalf of FRANCHISOR in the investigation of or defense against any and all such claims.

5.5 Refurbishment & Remodel of the Premises. FRANCHISEE shall timely complete future refurbishments and
remodels of the Unit in accordance with this subsection 5.5. Such refurbishments and remodels are in addition to
FRANCHISEE’s continuing obligations to maintain, repair and replace all equipment, signage, furnishing, decor and
personal property related to the Unit in accordance with FRANCHISOR’s standards. FRANCHISEE’s obligations to
maintain, repair and replace shall not be delayed or deferred pending or in anticipation of any such refurbishment or
remodel.

5.5.1 No later than the Refurbishment Date set forth in Item "G" of the Contract Data Schedule of this Agreement, and
at the end of each ten (10) year period thereafter (if this Agreement is renewed), FRANCHISEE shall refurbish the Unit in
accordance with FRANCHISOR’s then-current refurbishment standards. It is intended that the cost of the initial
refurbishment shall not exceed $10,000.00 and that subsequent refurbishments shall not exceed $10,000.00 increased by
the same percentage as the increase to the Consumer Price Index (all cities average) published by the U.S. Department of
Labor for the period from the Refurbishment Date to the date of subsequent refurbishment. The refurbishment required of
the FRANCHISEE shall be generally the same as then required of units of the same age and condition. The above
refurbishing costs do not include costs for required maintenance and repair or costs to upgrade, change or replace the Retail
Information System.

5.5.2 No later than the Remodel Date set forth in Item “G” of the Contract Data Schedule of this Agreement, and at the
end of each ten (10) year period thereafter (if this Agreement is renewed), FRANCHISEE shall remodel the Unit in
accordance with FRANCHISOR’s then-current remodeling standards (including but not limited to fixtures, furnishings,
signs and equipment). The remodeling required of FRANCHISEE shall be generally the same as then required of units of
the same age, condition, location and geographic region.

5.5.3 FRANCHISEE acknowledges and agrees that the requirements of this subsection 5.5 are both reasonable and
necessary to ensure continued public acceptance and patronage of the System(s), to avoid deterioration or obsolescence of the
Unit and to take advantage of changes and improvements in design, concept and decor.

5.6 Cross-Guarantee, In the event FRANCHISEE, or any partner, member or shareholder of FRANCHISEE, now
holds or hereafter acquires an interest in any other unit franchised by FRANCHISOR, FRANCHISEE shall be jointly and
severally liable to FRANCHISOR as. guarantor of the obligations of the franchisee under each franchise Agreement for
such other unit(s). Included in such guaranty are, without limitation, payment of all franchise fees, advertising fees,
equipment payments, note payments, rental and other Lease payments to FRANCHISOR or any of its subsidiaries, if
applicable, collection fees and general receivables now or hereafter due and payable to FRANCHISOR or guaranteed by
FRANCHISOR to any third party. FRANCHISEE's liability under this paragraph shall be limited to the extent that the

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total sum due and payable by FRANCHISEE upon the account or debt of any other franchisee in default shall not exceed
the total interest (as hereinafter defined) that the common shareholder(s), member(s) or partner(s), as the case may be, hold
in FRANCHISEE. For this purpose, “interest” shall include without limitation, all equity in, assets, real estate interests of,
loans or other financial interests of FRANCHISEE, held by or controlled by the common shareholder(s), member(s) or
partner(s) or their immediate family, as the case may be. The terms of this paragraph shall not operate to extend any

personal guaranty of any Lease obligations by any shareholder(s), member(s) or partner(s), after such guaranty shall have
ended by its terms.

5.7 FRANCHISEE Entity. FRANCHISEE may be a sole proprietorship, a general partnership, a corporation or a
limited liability company (“LLC”). FRANCHISEE may not be a limited partnership, trust or other entity not specifically
authorized herein or approved by FRANCHISOR in writing.

5.7.1. Corporation, If FRANCHISEE is a corporation, (i) said corporation's charter shal! provide that it is authorized to
operate the Unit as provided under this Agreement; (ii) all shareholders of the corporation shall enter into a written
Agreement, in a form satisfactory to FRANCHISOR, to jointly and severally guaranty the full payment and performance of
the corporation's obligations to FRANCHISOR and to assume all personal obligations required of partners, members
and/or shareholders contained in this Agreement; (iii) each stock certificate of the corporation shall have conspicuously
endorsed upon it a statement that it is held subject to, and that further assignment or transfer thereof is subject to all
restrictions imposed upon transfers by this Agreement; and (iv) no new shares of common or preferred voting stock in the
corporation shall be issued to any person, persons, partnership, association, LLC or corporation without obtaining
FRANCHISOR's prior written consent, pursuant to Section 10 of this Agreement. FRANCHISEE shall at all times maintain
a current list of all owners of record and all beneficial owners of any class of voting stock of FRANCHISEE and shall furnish
the list to FRANCHISOR upon request.

5.7.2 LLC. If FRANCHISEE is an LLC, (i) said LLC's operating agreement shall provide that its activities are limited
to operating the Unit as provided under this Agreement; (ii) all members of the LLC shall enter into a written agreement,
in a form satisfactory to FRANCHISOR, to jointly and severally guaranty the full payment and performance of the LLC's
obligations to FRANCHISOR and to assume all personal obligations required of partners, members and/or shareholders
contained in this Agreement; (iii) the LLC’s operating agreement shall provide that any assignment or transfer of
membership interests in the LLC is subject to all restrictions imposed upon transfers by this Agreement; and (iv) no new
LLC or corporation without obtaining FRANCHISOR's prior written consent, pursuant to Section 10 of this Agreement.
FRANCHISEE shall at all times maintain a current list of all members of record of FRANCHISEE and shall furnish the list to
FRANCHISOR upon request.

Section 6. Certain Rights of FRANCHISOR

6.0 in order to preserve the validity and integrity of the Proprietary Marks and to assure that the Standards of the
System(s) are properly employed by FRANCHISEE in the operation of the Unit and, in general, to verify FRANCHISEE's
compliance with the terms of this Agreement, FRANCHISOR, or its agents, shall have the right, at all times, with or
without prior notice to FRANCHISEE, to enter and inspect any and all public or private area(s) of the Unit and to select
materials, ingredients, products, supplies, paper goods, uniforms, fixtures, furnishings, signs and equipment for evaluation
purposes to assure that these items conform to the Standards of the System(s). During the course of any such inspection,
FRANCHISOR may photograph or videotape any part of the Unit, whether or not FRANCHISEE is present.
FRANCHISOR may require FRANCHISEE to remove any item which does not conform to applicable Standards.
FRANCHISOR may also, at FRANCHISEE's expense, remove or destroy any item which does not conform to applicable
Standards.

6.1 If FRANCHISOR finds any condition on the Premises which FRANCHISOR deems to be hazardous, unsafe,
unhealthy, unsanitary, unclean or in material disrepair, FRANCHISOR shall have the following rights in addition to all
other rights set forth in this Agreement:

6.1.1 FRANCHISOR shall have the right to require FRANCHISEE to immediately close and suspend operation of the
Unit, and/or to require such other actions as FRANCHISOR, in its sole discretion, deems necessary, whenever there is reason
to believe that any products in the Unit are contaminated, or for other reasons of imminent risk to public health and safety.
FRANCHISEE agrees to notify FRANCHISOR immediately of any suspected product contamination or other violation
affecting public health or safety and to promptly take any action which FRANCHISOR requires in connection therewith.
FRANCHISEE shall be solely responsible for all losses, costs or other expenses it incurs in complying with the provisions of
this subsection 6.1; and/or

6.1.2 FRANCHISOR shall have the right to immediately remove or destroy, at FRANCHISEE’s expense, any product
which FRANCHISOR believes to be hazardous, contaminated or to otherwise pose an imminent risk to public health or
safety; or

6.1.3 FRANCHISOR shall have the right to give FRANCHISEE twenty-four (24) hours written notice requiring the
correction of an unsafe, unhealthy, unsanitary or unclean condition, or thirty (30) days written notice requiring
maintenance, repairs or alterations to the Unit or correction of any other Standards violation. If FRANCHISEE has not
within that time corrected the condition or completed the maintenance, repairs or alterations, as the case may be,
FRANCHISOR may enter the Unit, without being guilty of, or liable for, trespass or tort, and may cause the condition to be
corrected or the maintenance, repair, or alteration to be completed at the expense of FRANCHISEE and without prejudice
to any other rights or remedies of FRANCHISOR.

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6.2 In addition to FRANCHISOR’s right to access information through the Retail Information System and otherwise,
FRANCHISOR's representatives shall have the right to examine FRANCHISEE's original books, Records and supporting
documents at reasonable times, and to perform, with or without notice to FRANCHISEE, such inspections, tests and other
analyses as it deems appropriate to verify Gross Sales at the Unit. If FRANCHISOR determines: that the Gross. Sales
FRANCHISEE reported to FRANCHISOR are less than the Gross Sales ascertained by FRANCHISOR’s analysis,
FRANCHISEE shall immediately pay to. FRANCHISOR all amounts owing to FRANCHISOR, the applicable Fund ‘and
FRANCHISOR's affiliated landlord corporation based upon the corrected Gross Sales. If an analysis is undertaken due to
(i) FRANCHISEE's failure to maintain the Retail Information System in continuous operation, or (ii) FRANCHISEE’s
failure to prepare, deliver or preserve statements or Records required by subsection 5.2 of this Agreement, or (iii) if any
analysis of FRANCHISEE’s books and Records results in the discovery of a discrepancy greater than three percent (3%) in
the Gross Sales reported by FRANCHISEE, FRANCHISEE shall pay, in addition to the unpaid amounts owed
FRANCHISOR, its affiliated landlord corporation and the applicable Fund, interest thereon from the date payment was
due, at 18% per annum or the highest permissible rate. FRANCHISEE shall also reimburse FRANCHISOR for all related
expenses, including, but not limited to, reasonable investigation, accounting and legal fees and other reasonable expenses
and costs such as travel, payroll and overhead expenses for FRANCHISOR’s employees. Such payments shall be without
prejudice to any other remedies FRANCHISOR may have under this Agreement, including the right to terminate this
Agreement, without opportunity to cure, in the case of intentional under-reporting of Gross Sales.

6.3 In the event that FRANCHISOR shall believe there may have been intentional under-reporting of Gross Sales for
the Unit, FRANCHISEE (and all partners, members and shareholders of FRANCHISEE) shall, upon written demand from
FRANCHISOR provide FRANCHISOR, in addition to Records described in paragraph 5.2.5, personal federal and state tax
returns, bank statements (including deposit slips and canceled checks) and such other documents and information as
FRANCHISOR may in its sole discretion request in connection with FRANCHISOR's efforts to verify Gross Sales
reported to FRANCHISOR under this Agreement or any Lease of the Unit. Information provided by FRANCHISEE under
this paragraph 6.3 shall be subject to the confidentiality provisions of paragraph 5.2.7, except that exclusion (c) therein
does not apply. Schedules to personal tax returns and other financial data which are unrelated to the business of the Unit
need not be provided by any partner, member or shareholder of FRANCHISEE who has not been active in the business,
and, in addition, has not directly or indirectly owned or controlled at least a majority interest in the business at the Unit,
alone or in conjunction with any other family member or related entity.

6.4 FRANCHISEE hereby grants FRANCHISOR the right to inspect the records of all suppliers, distributors, group
purchasing programs, distribution centers, and other third parties supplying food products, supplies, equipment and
materials to FRANCHISEE and hereby authorizes such parties to release records of FRANCHISEE's purchases and

deliveries to FRANCHISOR, by electronic transfer or otherwise, at such times and places as FRANCHISOR shall request.

6.5 If, during the term of this Agreement or any extension or renewal thereof, FRANCHISEE directly or indirectly
acquires ownership or control of the Premises, FRANCHISEE agrees to give FRANCHISOR prompt written notice of such
ownership or control and to grant FRANCHISOR, under FRANCHISOR’s standard Lease Option Agreement, the option to
acquire a leasehold interest in the Premises in-the event of default by FRANCHISEE under this Agreement or under any
lease or mortgage relating to the Premises. Said leasehold interest shall be for the remaining term of this Agreement,
including any renewal, at “triple-net” fair market value rental for comparable properties and use in the area as mutually
agreed by the parties, or, in the absence of agreement, as determined by arbitration.

Section 7. Proprietary Marks

7.0 FRANCHISOR has, in connection with its business and the business of its franchisees, developed and used and
continues to use and control the usage of Proprietary Marks which are certain proprietary interests, trademarks, service
marks, logos, emblems, trade dress and other indicia of origin, including colors, and certain trade names, including but not
limited to Dunkin’ Donuts®, owned by Dunkin’ Donuts Incorporated, Baskin 3 1 Robbins® owned by Baskin-Robbins
Incorporated, and TOGO’S®, owned by Togo’s Eateries, Inc., all of which are registered as trademarks on the Principal
Register of the United States Patent and Trademark Office. FRANCHISEE’s rights to use specific Proprietary Marks under
this Agreement are set forth in the Special Terms and Conditions described in Item “J” of the Contract Data Schedule of
this Agreement and attached hereto as a part hereof.

7A FRANCHISEE agrees to use the Proprietary Marks only in the manner and to the extent specifically licensed by
this Agreement. FRANCHISEE shall not sublicense the Proprietary Marks. FRANCHISEE further agrees that any
unauthorized use of the Proprietary Marks during the term of or after expiration or the earlier termination of this
Agreement shall constitute an incurable default causing irreparable harm subject to injunctive relief.

7.1.1 FRANCHISEE understands and acknowledges that FRANCHISEE's license to use any or all of the Proprietary
Marks is non-exclusive and relates solely to the single location set forth in this Agreement. FRANCHISEE further
acknowledges that FRANCHISOR, in its sole discretion, has the right to operate or franchise other units and sales outlets
and to grant other licenses in, and to, any or all of the Proprietary Marks, and to develop and establish other systems,
products or services using the sare or similar Proprietary Marks, or any other proprietary names and marks, and to grant
licenses or franchises thereto, in each case at such locations and on such terms and conditions as FRANCHISOR deems
acceptable, without providing any rights therein to FRANCHISEE. FRANCHISEE further acknowledges the FRANCHISOR
may license others to use the Proprietary Marks at locations and in ways that competes with FRANCHISEE and draws
customers from the same area as the Unit.

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72 FRANCHISEE agrees that, during the term of this Agreement and after the expiration or termination thereof,
FRANCHISEE shall not directly or indirectly contest or aid in contesting the validity or ownership of the Proprietary
Marks. FRANCHISEE shall not, directly or indirectly, apply to register, register or otherwise seek to use or control or in
any way use any of the Proprietary Marks or any confusingly similar form or variation thereof in any place or jurisdiction
outside the United States; nor shall FRANCHISEE assist any others to do so.

73 FRANCHISEE shall identify itself as the franchisee of the Unit in conjunction with any use of the Proprietary Marks,
including, without limitation, uses on letterheads, invoices, order forms, receipts, and contracts. Upon the written request of
FRANCHISOR, FRANCHISEE shall display a notice identifying the Unit as being independently owned and operated by
FRANCHISEE, in such content and form and at such conspicuous locations on the Premises as FRANCHISOR may designate.

74 FRANCHISEE agrees to notify FRANCHISOR promptly of any litigation instituted by FRANCHISEE, or by any
person, firm or corporation against FRANCHISEE, relating to the Proprietary Marks. In the event FRANCHISOR
undertakes the defense or prosecution of any such litigation, FRANCHISEE agrees to execute any and all documents and
do such acts and things as may, in the opinion of counsel for FRANCHISOR, be necessary to carry out such defense or
prosecution.

Section 8. Restrictions on FRANCHISEE's Activities

8.0 During the term of this Agreement, including any extension or renewal thereof, and for a period of two (2) years
after expiration or termination of this Agreement, regardless of the cause of termination (hereinafter called the "Post-Term
Period"), neither FRANCHISEE, nor any partner, officer, director, shareholder or member of FRANCHISEE, as the case
may be, shall:

8.0.1. Divert or attempt to divert any business or customer of the Unit to any competitor, by direct or indirect
inducement or otherwise, or do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill
associated with FRANCHISOR’s Proprietary Marks and System(s);

8.0.2 Directly or indirectly contest or aid in contesting the right of FRANCHISOR or any prospective franchisee of
FRANCHISOR to obtain a building permit, zoning variance or other governmental approval required for the development
of another location as a unit franchised by FRANCHISOR.; or

8.0.3. Except with respect to the ownership or operation of additional units under Franchises granted by FRANCHISOR,
own, maintain, engage in, be employed by, or have any interest in any other business which sells or offers to sell the same
or substantially similar products to the type FRANCHISOR requires to be offered by FRANCHISEE at the Unit; provided
that, during the Post-Term Period only, the provisions of this paragraph 8.0.3 shall not apply to another business located
more than five (5) miles from this or any other unit operating under the same Proprietary Marks of FRANCHISOR. Either
party to this Agreement, upon notice in writing to the other during the Post-Term Period, shall have the right to have
determined whether said five (5) mile radius is a reasonable restriction on FRANCHISEE's activities, by requesting that the
matter be submitted to arbitration in accordance with Section 11 of this Agreement. In such event, the decision of the
arbitrator shall be final and binding upon the parties. FRANCHISEE further agrees that, in the event arbitration is
requested, FRANCHISEE will engage in no competitive activities pending resolution of the dispute.

8.1 During the term of this Agreement, including any extension or renewal thereof, and for a period of two (2) years
after expiration or termination of this Agreement, regardless of the cause of termination, neither FRANCHISEE, nor any
partner, officer, director, shareholder or member of FRANCHISEE, as the case may be, shall communicate or divulge to,
or use for the benefit of any person, persons, partnership, association or corporation, any information or knowledge
concerning the methods of constructing, equipping or operating units under any of FRANCHISOR’s Systems and all other
information or knowledge which FRANCHISOR deems confidential and which may be communicated to FRANCHISEE,
or of which FRANCHISEE may be apprised by virtue of FRANCHISEE's operation under the terms of this Agreement.
FRANCHISEE shall divulge such confidential information only to such of its employees as must have access to it in order
to operate the franchised business. Any and all information, knowledge, and know-how including, without limitation,
drawings, materials, specifications, techniques, and other data, which FRANCHISOR designates confidential shall be
deemed confidential for purposes of this Agreement. FRANCHISOR shall have the non-exclusive right to use and
incorporate into FRANCHISOR’s Systems, for the benefit of itself and other of FRANCHISOR’s franchisees licensees and
distributors, all modifications, changes, and improvements developed or discovered by FRANCHISEE or FRANCHISEE's
employees or agents in connection with the franchised business, without any liability or obligation to the developer thereof.

8.2 The covenants contained in this Section 8 shall be construed as severable and independent and shall be interpreted
and applied consistently with the requirements of reasonableness and equity. If all or any portion of a covenant in this
Section 8 is held unreasonable or unenforceable by a court, arbitration panel or other agency having valid jurisdiction in a
decision to which FRANCHISOR is a party, FRANCHISEE expressly agrees to be bound by any lesser covenant included
within the terms of such greater covenant that imposes the maximum duty permitted by law, as if the lesser covenant were
separately stated in, and made a part of, this Section 8.

8.3 FRANCHISEE acknowledges that FRANCHISOR shall have the right, in its sole discretion, to reduce the scope
of any covenant set forth in this Section 8, or of any portion or portions thereof, without FRANCHISEE's consent, and
FRANCHISEE agrees to comply forthwith with any covenant as modified.

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Section 9, Default
9.0 FRANCHISEE shall be in default under this Agreement:

9.0.1. If FRANCHISEE shall become insolvent or make an assignment for the benefit of creditors, or if a petition in
bankruptcy is filed by FRANCHISEE, or if such a petition is filed against and consented to by FRANCHISEE or is not
dismissed within thirty (30) days, or if FRANCHISEE is adjudicated a bankrupt, or if a bill in equity or other proceeding
for the appointment of a receiver of FRANCHISEE or other custodian for FRANCHISEE's business or assets is filed and is
consented to by FRANCHISEE or is not dismissed within thirty (30) days, or if a receiver or other custodian is appointed,
or if proceedings for composition with creditors under any state or federal law should be instituted by or against
FRANCHISEE, or if the real or personal property of FRANCHISEE shall be sold at levy thereupon by any sheriff,
marshall or constable; or

9.0.2 If FRANCHISEE is convicted of or pleads guilty or “nolo contendere” to a felony, a crime involving moral turpitude,
or any other crime or offense that FRANCHISOR believes is injurious to the System(s), the Proprietary Marks or the goodwill
associated therewith, or if FRANCHISOR has proof that FRANCHISEE has committed such a felony, crime or offense; or

9.0.3 If FRANCHISEE permits the use of the Unit or Premises for any illegal or unauthorized purpose, including, without
limitation, palming off or substitution of products under the Proprietary Marks or other marks of FRANCHISOR; or

9.0.4 Ifany other franchise agreement between FRANCHISEE and FRANCHISOR or any affiliated entity is terminated by
reason of FRANCHISEE's default thereunder; or

9.0.5 If FRANCHISEE fails to pay, perform, observe or comply with any of FRANCHISEE’s duties and obligations
under this Agreement; or if FRANCHISEE fails to carry out in all respects its obligations under any Lease, mortgage,
equipment Agreement, promissory note, conditional sales contract or other contract materially affecting the Unit, to which
the FRANCHISEE is a party or by which FRANCHISEE is bound, whether or not FRANCHISOR is a party thereto.

oA Thirty Day Cure Period. Except as otherwise provided in this Section 9, FRANCHISEE shall have the right to
cure FRANCHISEE's default under this Agreement within thirty (0) days after written notice of default from
FRANCHISOR is delivered pursuant to paragraph 14 hereof. Notwithstanding the foregoing, the following lesser periods
shall apply under the circumstances described:

9.1.1 Seven Day Cure Period. A seven (7) day cure period shall apply if FRANCHISEE fails, refuses, or neglects to
pay when due to FRANCHISOR any moneys owing to FRANCHISOR or to any Fund, or if FRANCHISEE fails to
maintain the insurance coverage set forth in subsection 5.3 of this Agreement.

9.1.2 24 Hour Cure Period. A twenty-four (24) hour cure period shall apply as provided in paragraph 6.1.3 to the
violation of any law, regulation, order or Standard of FRANCHISOR relating to health, sanitation or safety; or if
FRANCHISEE ceases to operate the Unit for a period of forty-eight (48) hours without the prior written consent of
FRANCHISOR, provided, however, that if the Unit is abandoned, no cure period shall apply.

9.1.3. Cure on Demand. FRANCHISEE shall cure on demand all “hazardous situations” and remove and destroy on
demand all “hazardous products” as set forth in paragraph 5.1.2.1 and shall cure any situation which poses an imminent
risk to public health and safety as provided in subsection 6.1.

9.1.4 No Cure Period. No cure period shall be available if FRANCHISEE is in default under any paragraph designated
9.0.1 through 9.0.4 above; or if FRANCHISEE abandons the Unit; or if FRANCHISEE intentionally under-reports Gross
sales, falsifies financial data or otherwise commits an act of fraud with respect to FRANCHISEE’s acquisition of this
Franchise or its rights or obligations under this Agreement; or if FRANCHISEE's Lease for the Unit is terminated due to
FRANCHISEE’s default thereunder. In addition, no cure period shall be available for any default if FRANCHISEE has
received three (3) or more previous notices-to-cure for the same or a substantially similar default (whether or not
FRANCHISEE has cured the same), within the immediately preceding twelve (12) month period.

9.2 Statutory Cure Period. If a statute in the state in which the Premises is located requires a cure period for the
applicable default which is longer than any cure period specified in this Section 9, the statutory cure period shail apply.

9.3 Late Fee, Interest and Costs. If FRANCHISEE fails to cure a default within any applicable time period
following notice set forth in subsection 9.1, or if this Agreement is terminated as a result of FRANCHISEE's default,
FRANCHISEE shall pay to FRANCHISOR all damages, costs and expenses, including, without limitation, late fees,
collection fees, interest at one and one-half percent (1.5%) per month, or the highest permissible rate, and reasonable
investigation and attorneys’ fees incurred by FRANCHISOR as a result of any such default or termination. All such
interest, damages, costs and expenses may be included in and form part of the judgment awarded to FRANCHISOR in any
proceedings brought by FRANCHISOR against FRANCHISEE.

9.4 Termination. If FRANCHISEE fails to cure any default within the applicable period following notice from
FRANCHISOR, FRANCHISOR may, in addition to all other remedies at law or in equity or as otherwise set forth in this
Agreement, immediately terminate this Agreement. Such termination shall be effective immediately upon receipt of a
written notice of termination from FRANCHISOR. Notwithstanding the foregoing, this Agreement shall immediately
terminate upon the occurrence of any event set forth in paragraphs 9.0.1 through 9.0.4 or paragraph 9.1.4, without notice or
opportunity to cure or notice of termination. Upon any termination or expiration of this Agreement all right of
FRANCHISEE to use the Proprietary Marks and the System(s) and to operate the Unit under the Proprietary Marks shall
terminate and:

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9.4.1 FRANCHISEE shall promptly pay. FRANCHISOR ali sums owing or accrued from FRANCHISEE to
FRANCHISOR, the Fund, and any affiliated landlord entity, including interest and any damages, costs and expenses,
including reasonable attorneys’ fees, incurred by FRANCHISOR by reason of default on the part of FRANCHISEE; and

9.4.2 FRANCHISEE shall immediately cease to operate the Unit, and shall not thereafter, directly or indirectly, represent to
the public or hold itself out as a present or former FRANCHISEE of FRANCHISOR, and

9.4.3 FRANCHISEE shall immediately and permanently cease to use, by advertising or in any other manner whatsoever,
any feature or method associated with the System(s), any or all of the Proprietary Marks and any other trade secrets,
confidential information, operating manuals, slogans, trade dress, signs, symbols or devices which are part of
FRANCHISOR’s System(s) or are otherwise used in connection with the operation of the Unit. FRANCHISEE agrees that
any such unauthorized use or continued use after the termination of this Agreement shall constitute irreparable harm.
Continued use by FRANCHISEE of FRANCHISOR's trademarks, trade names, Proprietary Marks, and service marks after
termination of this Agreement shall constitute willful trademark infringement by FRANCHISEE, and

9.4.4 FRANCHISEE shall immediately return to FRANCHISOR all operating manuals, plans, specifications, and other
materials in FRANCHISEE's possession containing information prepared by FRANCHISOR and relative to the operation of
the Unit, and all copies thereof (all of which are acknowledged to be FRANCHISOR's property), and shall retain no copy or
record of any of the foregoing, except FRANCHISEE's copy of this Agreement, any correspondence between the parties, and
any other documents which FRANCHISEE reasonably needs for compliance with any provision of law; and

9.4.5 FRANCHISEE shall remove from the Premises and from any equipment, signs, trade fixtures, furnishings and other
personal property (except as provided in paragraph 9.4.6 below) and return to FRANCHISOR, all of the Proprietary Marks or
other indicia of FRANCHISOR, and shall disconnect, withdraw and/or terminate, within five (5) days after termination or
expiration of this Agreement, any telephone listings and/or fictitious name registration containing any part of the Proprietary
Marks. Upon FRANCHISOR's written demand, however, FRANCHISEE shall assign to FRANCHISOR, upon any
termination, expiration or non-renewal of this Agreement, any telephone number used in the operation of the Unit if such
number is listed in the directory using any of the Proprietary Marks. FRANCHISEE hereby appoints FRANCHISOR as its
attorney-in-fact, in the name of FRANCHISEE, to do any act necessary to effect the intent of this paragraph; and

9.4.6. FRANCHISEE shall, but only in the case of any early termination of this Agreement due to FRANCHISEE’s default,
sell to FRANCHISOR, at FRANCHISOR's election, any or all of the equipment, interior and exterior signs, trade fixtures,
furnishings and other personal property of FRANCHISEE used in connection with the Unit (hereinafter collectively
“Equipment”), at the purchase cost when originally installed in the Unit, less a depreciation deduction computed on a straight
line basis over a ten (10) year useful life for the respective items (but in no event less than ten percent (10%) of the original
purchase cost for such equipment, fixtures and furnishings). If FRANCHISEE owes a balance due on its purchase or financing
of such Equipment, or if the same are otherwise subject to a lien or claim for any indebtedness, the amounts of such balance
and/or indebtedness shall be deducted from the purchase price payable to FRANCHISEE. All sums of money due
FRANCHISOR by FRANCHISEE may be offset against the purchase price payable to FRANCHISEE. Nothing contained |
herein, however, shall be construed to entitle FRANCHISEE to be released from liability for such unpaid balance or
indebtedness, if any, in excess of the portion of the purchase price applied for payment of such debts; and

9.4.7. FRANCHISEE shall, at FRANCHISOR's option by notice to FRANCHISEE within thirty (30) days from the date of
termination or expiration, assign to FRANCHISOR any interest which FRANCHISEE has in the Lease or any other
Agreement related to the Premises. If FRANCHISOR does not elect to exercise its option to acquire the Lease, FRANCHISEE
shall make such modifications or alterations to the Premises immediately upon termination or expiration of this Agreement as
may be necessary to distinguish the appearance of the Premises from that of other units in the System(s), and shall make such
specific additional changes thereto as FRANCHISOR may reasonably require for that purpose. In the event FRANCHISEE
fails or refuses to comply with the requirements of this paragraph 9.4.7, FRANCHISOR shail have the right to enter upon the
Premises, without being guilty of trespass or any other tort, for the purpose of making such changes as may be required, at the
expense of FRANCHISEE, which expense FRANCHISEE agrees to pay upon demand, and

9.4.8 FRANCHISEE shall pay to FRANCHISOR all damages, costs and expenses, including, but not limited to,
reasonable investigation and attorney's fees and other reasonable expenses and costs such as travel costs and payroll
expenses for FRANCHISOR’s employees, incurred in obtaining injunctive or other relief for the enforcement of any
provisions of this Section 9; and

9.4.9 FRANCHISEE shall continue to comply with Section 8 of this Agreement, for the Post-Term Period specified
therein. If FRANCHISEE begins to operate any other business wherever situated, FRANCHISEE shall not use, in connection
with such other business or the promotion thereof, any reproduction, counterfeit, copy or colorable imitation of any of
FRANCHISOR’s Proprietary Marks or trade dress; and FRANCHISEE shall not utilize any designation of origin or

description or representation which falsely suggests or represent an association or connection with FRANCHISOR whether or
not constituting unfair competition.

9.5 Nothing in this Agreement shall preclude FRANCHISOR from seeking any remedy under federal or state law for
willful trademark infringement, including, without limitation, injunctive relief, No right or remedy herein conferred upon
or reserved to FRANCHISOR is exclusive of any other right or remedy herein, or by law or equity provided or permitted,
but each shall be cumulative of every other right or remedy given hereunder. FRANCHISEE agrees that the existence of
any claims against FRANCHISOR, whether or not arising from this Agreement, shall not constitute a defense to the
enforcement by FRANCHISOR of any provision of this Agreement.

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9.6 Because the Unit is one of many units within the System(s) that sell similar products and services to the public,
FRANCHISEE agrees that its failure to comply with the terms of this Agreement would cause irreparable damage to
FRANCHISOR and the System(s) as a whole for which no adequate remedy at law may be available, including, without
limitation, violations of standards, unhealthy, unsafe or unsanitary conditions, unauthorized use of the Proprietary Marks
and breaches under Section 8 hereof. In the event of FRANCHISEE’s breach or threatened breach of any of the terms of this
Agreement, FRANCHISOR shall therefore be forthwith entitled to an injunction restraining such breach and/or toa decree of
specific performance, without showing or proving any actual damage or irreparable harm or lack of an adequate remedy at law,
and without the requirement for the posting of bond, the same being hereby waived by FRANCHISEE, ‘until -a final
determination is made by a court of competent jurisdiction. The foregoing remedy shal! be in addition to all other remedies or
rights which FRANCHISOR might otherwise have by virtue of any breach of this Agreement by FRANCHISEE.

Section 10. Transfer Provisions

10.0 Transfer By FRANCHISOR. This Agreement shall inure to the benefit of the successors and assigns of
FRANCHISOR either individually or collectively. FRANCHISOR shall each have the right to assign its rights under this
Agreement to any person, persons, partnership, association or corporation, provided that the transferee agrees in writing to
assume all obligations undertaken by FRANCHISOR herein and FRANCHISEE receives a statement from both
FRANCHISOR and its transferee to that effect. Upon such assignment and assumption, FRANCHISOR shall be under no
further obligation hereunder except for accrued liabilities if any.

10.0.1 If this Agreement now or hereafter grants FRANCHISEE rights with respect to more than one (1) brand,
FRANCHISOR shall have the right, at any time and from time to time, to require FRANCHISEE to execute and deliver
separate contracts for each brand, each containing all of the terms of this Agreement pertaining to such brand.
FRANCHISEE agrees to execute and return such replacement contracts to FRANCHISOR within thirty (30) days after
receipt thereof. If FRANCHISEE fails to do so, FRANCHISOR shall have the right to execute such instruments on
FRANCHISEE’s behalf and deliver a copy thereof to FRANCHISEE.

10.1 Transfer By FRANCHISEE, FRANCHISEE understands and acknowledges that the rights and duties set forth in
this Agreement are personal to FRANCHISEE and that FRANCHISOR has granted the Franchise in reliance on the business
skill and experience, financial capacity and personal character of FRANCHISEE. Except as hereinafter provided, neither
FRANCHISEE, nor any partner, if FRANCHISEE is a partnership, nor any member, if FRANCHISEE is a limited liability
company (“LLC”), nor any shareholder, if FRANCHISEE is a corporation, without FRANCHISOR's prior written consent,
shall, by operation of law or otherwise, sell, assign, transfer, convey, give away, pledge, mortgage or otherwise encumber
to any person, persons, partnership, association, LLC or corporation, any interest in this Agreement, or any interest in the
franchise granted hereby, or any interest in any proprietorship, partnership, LLC or corporation which owns any interest in
the franchise, nor offer, permit or suffer the same. Any purported assignment or transfer not having the prior written
consent of FRANCHISOR shall be null and void and shall constitute default hereunder. Any proposed transfer must meet
all the requirements of FRANCHISOR including, but not limited to, those set forth in this Section 10.

10.2 Consent By FRANCHISOR. FRANCHISOR shall not unreasonably withhold its consent to any transfer referred
to in paragraph 10.1 above, provided, that:

10.2.1 FRANCHISEE must have operated the Unit for a period of not less than six (6) months prior to the proposed
transfer;

10.2.2 The sales price of the interest to be conveyed must not be so high, or the terms of sale so onerous, that, in the
judgment of FRANCHISOR, the transferee will be unlikely to properly maintain, operate and promote the Unit and meet
the transferee's financial and other obligations to FRANCHISOR, third party suppliers and creditors. This provision shall
not create any liability to either transferor or transferee on the part of FRANCHISOR, in the event that FRANCHISOR
approves the transfer and the transferee experiences financial difficulties;

10.2.3. The transferee and each partner, shareholder or member of the transferee, as the case may be, must be a United
States citizen or lawful resident alien of the United States, must be of good moral character and reputation and must have a
good credit rating and business qualifications and aptitude reasonably acceptable to FRANCHISOR. Such qualifications
include, without limitation, literacy and fluency in the English language sufficient, in FRANCHISOR's opinion, to
communicate with employees, customers, and suppliers of FRANCHISOR and to satisfactorily complete FRANCHISOR’s
required training program and such other tests and interviews as FRANCHISOR shall reasonably deem to be necessary or
desirable. FRANCHISEE shall provide FRANCHISOR with such information as FRANCHISOR may require to make a
determination concerning each proposed transferee; and

10.2.4 The transferee may not be a limited partnership, trust or other entity not specifically authorized herein.
10.3 Transfer Requirements. Each transfer of any interest in FRANCHISEE, the Unit, this Agreement and/or the

Franchise herein granted, must receive the prior written consent of FRANCHISOR set forth in subsection 10.2 above and
must conform to and/or comply with the following requirements:

10.3.1 Prior to the transfer, FRANCHISEE must pay and satisfy all accrued money obligations to FRANCHISOR, its
affiliates and/or subsidiaries and to any Fund, obligations of FRANCHISEE which FRANCHISOR has guaranteed, liens,
deferred rent and other obligations under the Lease for the Unit or other contracts pertaining to the Unit and the transfer fee
provided below, as applicable;

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10.3.2 Prior to the transfer, the Unit, including equipment, signs, building, improvements, interior and exterior, must be in
good operating condition and repair and in compliance with FRANCHISOR's then-current Standards, including, without
limitation, Standards for replacements and additions;

10.3.3. FRANCHISEE and any transferor may not assert any security interest, lien, claim or right now or hereafter in this
Franchise, the Franchise granted to the transferee, or, if applicable, the Lease for the Unit with FRANCHISOR or its
affiliated landlord entity. Any security interest, lien, claim or right asserted with respect to any personal property at the
above location shall not include any after-acquired property and shall be subject, junior and subordinate to any security
interest, lien, claim or right now or hereafter asserted by FRANCHISOR, its successors or assigns;

10.3.4 Prior to the transfer, the transferee must comply with the requirements of paragraph 5.1.8 of this Agreement, to the
satisfaction of FRANCHISOR;

10.3.5 Ifthe transferee is a corporation or LLC, it must comply with the terms of subsection 5.7 of this Agreement;

10.3.6 The transferee, including, where appropriate, all shareholders, members and partners of the transferee, shall jointly
and severally execute, on FRANCHISOR's then-current forms, a franchise agreement and all other standard ancillary
agreements, including, without limitation, a priority in payment agreement, if applicable. The priority in payment
agreement provides, among other things, that if the transferee is unable at any time to make payments both to the transferor
for the purchase of the Unit and to FRANCHISOR, its affiliates and/or subsidiaries and the Fund(s), payments to
FRANCHISOR, its affiliates and/or subsidiaries and the Fund(s) will have priority. The transferee's franchise agreement
shall not increase any fee based upon a percentage(s) of Gross Sales to a percentage greater than as required by this
Agreement for the respective System(s). Unless a longer period is agreed upon between FRANCHISOR and the transferee,
the term of the transferee's franchise agreement shall be for the unexpired term of this Agreement. The transferee shall pay
no franchise fee pursuant to paragraph 4.1 of this Agreement unless a longer term is agreed upon by FRANCHISOR;

10.3.7 FRANCHISEE, including all individuals proposing to transfer an interest in the Franchise or the FRANCHISEE,
must execute, on FRANCHISOR’s standard form, a general release of all claims against the FRANCHISOR corporations,
their affiliated corporations, and the directors, officers and employees of each; and

10.3.8 In addition, FRANCHISOR shall have the right to promulgate and enforce such additional reasonable requirements
as it may, in its sole judgment determine.

10.4 Transfer Fee. The transferor shall pay to FRANCHISOR upon any transfer of any interest of FRANCHISEE in
this Agreement or of any interest in the FRANCHISEE entity, a Transfer Fee determined as follows:

10.4.1 Prior to FRANCHISEE’s Fourth Year of Operations. The transferor shall pay to FRANCHISOR a Transfer Fee
which is the greater of: (i) five thousand dollars ($5,000.00), increased by five percent (5%) compounded annually during
the term FRANCHISEE has operated the Unit under this or other agreements with FRANCHISOR; or (ii) five percent
(5%) of the Adjusted Sales Price of the Unit.

10.4.1.1 The term “Adjusted Sales Price” shall mean the sales price to be received by FRANCHISEE upon transfer of the
Unit, less the amount, if any, paid by FRANCHISEE for the Unit, when purchased as an ongoing business from another
franchisee or from FRANCHISOR. No adjustment shall be made for amounts paid in connection with the development of
a new unit. The Adjusted Sales Price shall include, without limitation, cash, assumption of debt, equipment lease
obligations and deferred financing and amounts allocated to property of every kind, nature and description: furniture,
fixtures, signs, equipment, supplies and inventory; excluding only amounts reasonably allocated to land and building, if
owned by FRANCHISEE. It is intended that all consideration to be paid to FRANCHISEE, or for the benefit of
FRANCHISEE, however designated and whether or not included in the contract of sale shall be deemed part of the

Adjusted Sales Price including, but not by way of limitation, amounts allocated to a covenant not to compete or personal
service agreement.

10.4.1.2. For purposes of determining the correct Transfer Fee, FRANCHISOR reserves the right to reallocate amounts
which FRANCHISEE and the transferee have allocated to land, building, equipment, covenant against competition,
personal service agreement, or otherwise, if in FRANCHISOR's opinion, the allocation of the parties is unreasonable in
relation to the value of the business. If FRANCHISOR purchases the Unit from FRANCHISEE by exercise of its right of
first refusal under paragraph 10.7. hereof, the Transfer Fee shall be payable by FRANCHISEE to FRANCHISOR as if
FRANCHISEE had sold the franchised business to a third party.

10.4.2 From and After FRANCHISEE’s Fourth Year of Operations. If the transfer takes place after the
commencement of FRANCHISEE’s fourth year of operations, the transferor shall pay to FRANCHISOR the Transfer Fee
indicated below based on the Unit’s Gross Sales for the most recently completed twelve (12) calendar month period
preceding the date of the contract of sale). FRANCHISOR reserves the right to select another period or to make appropriate
adjustments to such Gross Sales in the event extraordinary occurrences (e.g., road construction, fire or other casualty, etc.)
materially affected Unit sales during the indicated twelve (12) month period.

Sales for Most Recent 12 Month Period Transfer Fee
Less than $400,000.00 $5,000.00
$400,000.00 or more, but less than $600,000.00 $6,000.00
$600,000.00 or more, but less than $1,000.000.00 $8,000.00
$1,000,000.00 or more, but less than $1,400,000.00 $12,000.00
$1,400,000.00 or more $20,000.00
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10.4.3 If FRANCHISOR purchases the Unit from FRANCHISEE by exercise of its right of first refusal under paragraph
10.7. hereof, the Transfer Fee shall be payable by FRANCHISEE to FRANCHISOR as if FRANCHISEE had sold the
franchised business to a third party.

10.4.4 Transfer of Less Than Control. For any transfer that, either alone or together with other previous, simultaneous
or proposed transfers, whether related or unrelated, will have the result of the transferee(s) holding an aggregate interest of
less than fifty percent (50%) of the franchise licensed herein or the entity licensed hereunder, FRANCHISOR will reduce
the Transfer Fee set forth in paragraph 10.4.1 or 10.4.2, as applicable, to a fixed transfer documentation fee of five hundred
dollars ($500.00), increased after each five (5) years of the term of this Agreement, including any renewal period, ‘by the
same percentage as the Consumer Price Index (all cities average) published by the U.S. Department of Labor for the same
period. FRANCHISOR will waive the Transfer Fee entirely with respect to a transfer of less than control, if each
transferee was an approved party to (or personal guarantor of) this Agreement prior to transfer.

10.4.5 Transfer to Spouse or Children. Notwithstanding anything else contained in this subsection 10.4, but provided
that FRANCHISOR détermines that FRANCHISEE has been in full compliance with the terms of all agreements with
FRANCHISOR and its affiliates, the Transfer Fee due in connection with a transfer of the Unit to FRANCHISEE's spouse
or one or more of FRANCHISEE's children shall be the fixed transfer documentation fee described in paragraph 10.4.4
above. The franchise agreement issued to the spouse and/or children will be on the then-current form in use at the time of
transfer including the then-current Transfer Fee provisions.

10.5 Release of Transferor. Upon FRANCHISOR's approval of the transfer and FRANCHISEE's compliance with
the aforesaid conditions, the transferor shall, provided that the transferor no longer has an interest in the Franchise,
thereupon be relieved of further obligations under the terms of this Agreement, except that the transferor shall remain
obligated for FRANCHISEE's money obligations under Section 4 through the date of transfer, and under the covenants
contained in Section 8 for the Post Term Period therein described, after the date of transfer.

10.6 Transfer on Death, Disability or Incapacity. In the event of the death, disability or mental incapacity of
FRANCHISEE, or any partner, member or shareholder of FRANCHISEE, at any time during the term of this Agreement,
the legal representative of the deceased, disabled or incapacitated party, as the case may be, together with all surviving
partners, members or shareholders of FRANCHISEE, if any, shall, within six (6) months of such death, disability or mental
incapacity, jointly apply, in writing to transfer the Franchise or the interest of the affected party in such Franchise, to such
person or persons as the legal representative may specify. Such transfer shall be approved by FRANCHISOR upon
fulfillment of all of the conditions set forth in Section 10 of this Agreement. A Transfer Fee shall be due pursuant to
subsection 10.4 above, except that paragraph 10.4.5 shall apply if the transferee is a beneficiary or heir of FRANCHISEE,

10.6.1 If the legal representative and all surviving partners, members or shareholders, if any, do not propose a transferee
acceptable to FRANCHISOR under the standards set forth in this Agreement within the period set forth in paragraph 10.6
above, or if no transfer of the interest shall have been accomiplished consistent with the provisions of this Section 10 within one
(1) year from the date of death, disability or mental incapacity, all rights licensed to FRANCHISEE under this Agreement
shall terminate forthwith and automatically revert to FRANCHISOR. FRANCHISOR shall have the right and option,
exercisable under such termination, to purchase all furniture, fixtures, signs, equipment and other chattels at a price to be
agreed upon by the parties or, if no agreement as to price is reached by the parties, at such price as may be determined by a
qualified appraiser, approved by both parties, such approval not to be unreasonably withheld. FRANCHISOR shail give
notice of its intent to exercise said option no later than twenty-one (21) days prior to termination.

10.6.2 If the deceased, disabled or incapacitated party is the Designated Representative, then during the interim period until a
transfer of the interest under this subsection 10.6 has taken place, the legal representative and surviving partners, members or
shareholders shall operate the Unit through a successor Designated Representative who shall possess such qualifications for
interim management of the Unit as FRANCHISOR may determine, in its discretion, from time to time. Failure of
FRANCHISEE or the legal representative to appoint a Designated Representative so qualified within ninety (90) days after the
date of death, disability or mental incapacity of the Designated Representative shall be grounds for FRANCHISOR to
terminate this Agreement after sending FRANCHISEE a thirty (30) day written notice-to cure.

10.6.3 FRANCHISOR shall have the right to require a certified copy of an order of a court of competent jurisdiction over the
estate of the deceased or incapacitated person, in which the legal representative or heir or legatee shall be determined, and may
rely on such certified copy for the purposes of subsection 10.6. If not furnished with such certified copy of a court order, or in
the event of a legal contest, FRANCHISOR may decline, without liability, to recognize the claim of a party to such interest.
FRANCHISOR shall not be liable to any heir, next of kin, devisee, legatee, or legal representatives of a deceased or
incapacitated person by reason of approval of a transfer of the interest to the surviving spouse or a child of the deceased,
provided such approval is not contrary to an order of a court of competent jurisdiction served on FRANCHISOR.

10.7 Right of First Refusal. If FRANCHISEE, or any shareholder, member or partner thereof, has received and
desires to accept a signed, bona fide written offer from a third party to purchase FRANCHISEE's rights under this
Agreement or any shareholder's, member’s or partner's interest in the franchised business, FRANCHISEE or such
shareholder, member or partner shall notify FRANCHISOR and provide it with a complete copy of such offer.
FRANCHISOR shall have the right and option, exercisable within forty-five (45) days after its receipt of said copy, to
purchase FRANCHISEE's Franchise, or such shareholder's, member’s or partner's interest in the franchised business, on the
same terms and conditions as offered by said third party. FRANCHISOR's exercise of its rights hereunder shall not relieve
FRANCHISEE of its Transfer Fee obligation to FRANCHISOR. Should FRANCHISOR not exercise this option and the
terms of the unaccepted offer be altered, FRANCHISOR shail, in each such instance, be notified of the changed offer and
shall again have forty-five (45) days to exercise its right to purchase on the altered terms. Should FRANCHISOR not
exercise this option, all of the terms of Section 10 shall apply to the transfer,

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Section 11. Arbitration.

11.0 Except as otherwise specified in this Section 11, all controversies, claims or disputes between FRANCHISEE and
FRANCHISOR of whatever kind or nature, whether arising out of or relating to the negotiation, performance or breach of
this or any other agreement or otherwise, must be settled by arbitration administered by the American Arbitration
Association (“AAA”) under its Commercial Arbitration Rules, as herein modified. This provision encompasses all causes
of action, whether nominally a “claim”, “counterclaim” or “cross-claim”, and whether arising under common law or any
state or federal statute. As used in this Section 11, the terms “FRANCHISOR” and “FRANCHISEE” include, without
limitation, the past and present employees, agents, representatives, officers, directors, shareholders, members, guarantors,
sureties, parent corporations, subsidiary corporations, controlled affiliated entities, predecessors, successors and/or assigns
of each party hereto. The parties intend that this provision be given the broadest possible interpretation by a court of law.

11.1 Eligibility and Procedures. Arbitration must be initiated within the lesser of the time periods (a) set forth in
paragraph 11.7.5 below or (b) permitted under the applicable statute of limitations for the cause of action asserted. Any
claim, controversy or dispute which is not so initiated within said lesser period shall not be eligible for arbitration under
any circumstances. Arbitration shall be initiated as provided in the Rules of the AAA by the filing of a demand for
arbitration with the regional office of the AAA located in the city and state inserted in Item "L" of the Contract Data
Schedule of this agreement. If no location is inserted in Item “L” or if such insertion is incomplete or inaccurate, Boston,
Massachusetts, shall be deemed to apply. The arbitration proceedings, including without limitation all conferences,
preliminary and dispositive hearings shall be conducted in such city and state unless all parties agree to another venue. Actions
to enforce an express obligation to pay moneys may be brought under the Expedited Procedures of the AAA’s Commercial
Arbitration Rules, provided there are no counterclaims. The arbitrator(s) may issue such orders for interim relief as may be
deemed necessary to safeguard the rights of the parties during the arbitration, but without prejudice to the ultimate rights of
the parties, to the final determination of the dispute or to the rights of the FRANCHISOR to seek equitable relief from a
court of competent jurisdiction at any time, even during the pendency of any arbitration proceedings initiated hereunder.

112 Enforceability and Effect. Judgment on the award, including, without limitation, any interim award for interim
relief, rendered by the arbitrator(s) may be entered in any court having jurisdiction thereof. The binding or preclusive
effect of any award shall be limited to the actual dispute or claim arbitrated, and to the parties, and will have no collateral
effect on any other dispute-or claim of any kind whatsoever.

11.3 Governing Law. The Federal Arbitration Act and related federal judicial procedure shall govern this contract to the
fullest extent possible, excluding all state arbitration law, irrespective of the location of the arbitration proceedings, the nature
of the dispute between the parties or the nature of the court in which any related judicial proceedings may be brought. Except
as provided in the preceding sentence respecting arbitration law, the resolution of all disputes between the parties bound
hereunder, whether in tort and regardless of the place of injury or the place of the alleged wrongdoing or whether arising out of
or relating to the parties’ contractual relationship, shall be governed by the law of the Commonwealth of Massachusetts
without regard to choice of law principles.

11.4 Exceptions to Arbitration. Disputes concerning the validity or scope of this Section 11 (arbitration), including,
without limitation, whether a dispute is arbitrable hereunder, shall be beyond the authority of the arbitrator(s) and shall be
determined by a court of competent jurisdiction pursuant to the Federal Arbitration Act, 9 U.S.C. §1 et seq., as amended
from time to time. In addition, the causes of action specified in the following subsections 11.5 and 11.6 are the sole and
exclusive exceptions to the agreement of the parties hereto to resolve disputes through arbitration:

11.5 FRANCHISOR’s Exceptions. FRANCHISOR shall have the option to litigate any one or more of the causes of

action specified in this subsection 11.5 and shall exercise said option by filing a complaint in any court of competent
jurisdiction:

11.5.1 the enforcement of an obligation to pay money to FRANCHISOR under an express term of any agreement,
11.5.2 any action based upon an allegation of intentional underreporting of Grass Sales by FRANCHISEE;

11.5.3. any action for declaratory or equitable relief, including, without limitation, seeking of preliminary and/or
permanent injunctive relief, specific performance, other relief in the nature of equity or any action at law for damage to
FRANCHISOR’s property or property interests or in equity to enjoin any harm or threat of harm to FRANCHISOR’s
goodwill, Proprietary Marks or its tangible or other intangible property, brought at any time, including, without limitation,
prior to or during the pendency of any arbitration proceedings initiated hereunder;

11.5.4 any action seeking to terminate this Agreement based upon FRANCHISEE’s material breach of paragraph 5.1.7 of
this Agreement (excluding subparagraph 5.1.7.1); or

11.5.5 any action in ejectment or for possession of any interest in real or personal property.

11.6 FRANCHISEE’s Exceptions. FRANCHISEE shall have the option to litigate any cause of action otherwise
eligible for arbitration hereunder and shall exercise said option solely by filing a complaint in any court of competent
jurisdiction in which FRANCHISEE expressly waives the right to a trial by jury and any and ail claim(s) for punitive, multiple
and/or exemplary damages. If any such complaint fails to include such express waivers or if any such court of competent
jurisdiction determines that all or any part of such waivers shall be ineffective or void for any reason whatsoever, then the
parties agree that the action shall thereupon be dismissed without prejudice, leaving the parties to their arbitration remedies, if
then available pursuant to this Section 11.

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11.6.1 In the event FRANCHISOR litigates any cause of action pursuant to subsection 11.5 above, FRANCHISEE shall not
file any counterclaim, cross-claim, offset claim or the like against FRANCHISOR in the litigation, unless FRANCHISEE
expressly waives the right to a trial by jury and any and all claim(s) for punitive, multiple and/or exemplary damages.
Otherwise, FRANCHISEE shall submit each such counterclaim, cross-claim, offset claim or the like to. arbitration, if then
available pursuant to this Section 11.

17 Waiver of Rights. THE PARTIES HERETO AND EACH OF THEM KNOWINGLY, VOLUNTARILY AND
INTENTIONALLY AGREE AS FOLLOWS:

11.7.1 The parties hereto and each of them EXPRESSLY WAIVE(S) THE RIGHT ANY MAY HAVE TO A TRIAL BY
JURY; and

11.7.2. The parties hereto and each of them EXPRESSLY WAIVE(S) ANY CLAIM FOR PUNITIVE, MULTIPLE
AND/OR EXEMPLARY. DAMAGES, except that FRANCHISOR shall be free at any time hereunder to bring an action for
willful trademark infringement and, if successful, to receive an award of multiple damages as provided by law; and

11.7.3. The parties hereto and each of them EXPRESSLY AGREE(S) THAT NO PARTY BOUND HEREBY MAY
RECOVER DAMAGES FOR ECONOMIC LOSS ATTRIBUTABLE TO NEGLIGENT ACTS OR OMISSIONS EXCEPT
FOR CONDUCT WHICH IS DETERMINED TO CONSTITUTE GROSS NEGLIGENCE OR AN INTENTIONAL
WRONG; and

11.7.4 The parties hereto and each of them EXPRESSLY AGREES THAT IN THE EVENT OF ANY FINAL
ADJUDICATION OR APPLICABLE ENACTMENT OF LAW THAT PUNITIVE, MULTIPLE AND/OR EXEMPLARY
DAMAGES MAY NOT BE WAIVED, ANY RECOVERY BY ANY PARTY IN ANY FORUM SHALL NEVER EXCEED
TWO (2) TIMES ACTUAL DAMAGES, except for an award of multiple damages to FRANCHISOR for willful trademark
infringement, as provided by law.

11.7.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS AGREEMENT, THE
RELATIONSHIP OF FRANCHISEE AND FRANCHISOR OR FRANCHISEE'S OPERATION OF THE UNIT, BROUGHT
IN ANY FORUM BY ANY PARTY HERETO AGAINST THE OTHER, MUST BE COMMENCED WITHIN TWO (2)
YEARS AFTER THE DISCOVERY OF THE FACTS GIVING RISE TO SUCH CLAIM OR ACTION, OR SUCH CLAIM
OR ACTION SHALL BE BARRED, EXCEPT FOR FINANCIAL OBLIGATIONS OF FRANCHISEE,

11.8 No Class Actions. No party shall initiate or participate in any class action litigation claim against any other party
bound hereby, except that FRANCHISEE may initiate or participate in any class action arbitration claim by franchisees of
FRANCHISOR against FRANCHISOR limited exclusively to alleged misappropriation of moneys from the Fund of any
System authorized by this Agreement, which claim must be brought only in arbitration under the provisions of this Section 11.

11.9 Post-Term Applicability. The provisions of this Section 11 shall continue in full force and effect subsequent to
and notwithstanding the expiration or termination of this Agreement, however effected.

Miscellaneous Provisions.

12.0 Relationship of the Parties. This Agreement does not constitute FRANCHISEE an agent, legal representative,
joint venturer, partner, employee or servant of FRANCHISOR ar its affiliated corporation for any purpose whatsoever; and
it is deemed understood between the parties hereto that FRANCHISEE shall be an independent contractor and is in no way
authorized to make any contract, agreement, warranty or representation on behalf of FRANCHISOR or its affiliated
corporation or to create any obligation, express or implied, on behalf of FRANCHISOR or its affiliated corporation. The
parties agree that this Agreement does not create a fiduciary relationship between FRANCHISOR or its affiliated
corporation and FRANCHISEE.

12.1 Under no circumstances shall FRANCHISOR or FRANCHISEE be liable for any act, omission, debt or other
obligation of the other party. Each party shall indemnify, protect, defend and save the other party harmless against any
such claim. The cost of defending against any claim arising directly or indirectly from, or as a result of, or in connection
with FRANCHISEE's operation of the Unit shall be bome by FRANCHISEE.

13.0 Non-Waiver. Any failure of FRANCHISOR to exercise any power reserved to it hereunder, or to insist upon
strict compliance by FRANCHISEE with any term, covenant or condition in this Agreement, and any waiver by
FRANCHISOR of any breach of a term, covenant or condition shall not be deemed to be a waiver of such term, covenant
or condition or any subsequent breach of the same or any other term, covenant or condition in this Agreement. Subsequent
acceptance by FRANCHISOR of the payments due to it hereunder, in whole or in part, shall not be deemed to be a waiver
by FRANCHISOR of any preceding breach by FRANCHISEE of any term, covenant or condition of this Agreement.
FRANCHISOR may, in its sole discretion, waive or modify any obligation of other franchisees under agreements similar to
this Agreement, and no such waiver or modification shall obligate FRANCHISOR to grant a similar waiver or modification to
FRANCHISEE. Acceptance by FRANCHISOR of payments due under this Agreement from any other person or entity
shall be deemed to be acceptance from such person or entity as an agent of FRANCHISEE and not as recognition of such
person or entity as an assignee of or successor to FRANCHISEE.

14.0 Notices, All notices hereunder by FRANCHISOR to FRANCHISEE shall, at FRANCHISOR's option, be
personally delivered or sent by telecopier, prepaid private courier or certified mail to the FRANCHISEE at the address set
forth in Item "I" of the Contract Data Schedule of this Agreement or to such other address as FRANCHISEE may from

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time to time give notice of to FRANCHISOR. If delivery is refused, proof of attempted delivery shall be deemed delivery.
All notices hereunder by FRANCHISEE to FRANCHISOR shall be sent by certified mail to Allied Domecq Retailing
USA, at Post Office Box 317, 14 Pacella Park Drive, Randolph, Massachusetts 02368, Attention: Senior Vice President and
General Counsel or to such other address as FRANCHISOR may from time to time give notice to FRANCHISEE.

15.0 Entire Agreement. This Agreement, and the documents referred to herein shall be the entire, full and complete
agreement between FRANCHISOR and FRANCHISEE concerning the subject matter hereof, and supersedes all prior
agreements, no other representation having induced FRANCHISEE to execute this Agreement; and there are no
representations, inducements, promises or agreements, oral or otherwise, between the parties not embodied herein, which
are of any force or effect with reference to this Agreement or otherwise. No amendment, change or variance from this
Agreement-shall be binding on either party unless executed in writing. Captions, paragraph designations and section or
subsection headings are included in this Agreement for convenience only, and in no way define, limit, construe or describe
the scope or intent of the respective parts of this Agreement. The Special Terms and Conditions attached to this Agreement
supplement the General Terms and Conditions and are intended to be additional thereto. In the event of any conflict
between any provisions thereof, the provisions of the Special Terms and Conditions shall be deemed to prevail.

16.0 Severability. Each section, part, term and provision of this Agreement shall be considered severable, and if, for
any reason, any section, part, term or provision herein is determined to be invalid and contrary to, or in conflict with, any
existing or future law or regulation of a court or agency having valid jurisdiction, such shall not impair the operation or
affect the remaining portions, sections, parts, terms or provisions of this Agreement, and the latter will continue to be given
full force and effect and bind the. parties hereto; and said invalid section, part, term or provision shall be deemed not to be a
part of this Agreement.

17.0 Applicable Law. This Agreement shall be deemed to have been made in, and shall be interpreted, construed and
governed by the laws of, the Commonwealth of Massachusetts. FRANCHISEE acknowledges that this Agreement is to be
performed in part through services rendered to FRANCHISEE in Massachusetts.

18.0 Independent Investigation. THE PROSPECT FOR SUCCESS OF THE BUSINESS VENTURE
UNDERTAKEN BY FRANCHISEE BY VIRTUE OF THIS AGREEMENT IS SPECULATIVE AND DEPENDS TO A
MATERIAL EXTENT UPON FRANCHISEE'S CAPABILITY AS AN INDEPENDENT BUSINESS PERSON AND
FRANCHISEE, AS WELL AS OTHER FACTORS. FRANCHISOR MAKES NO REPRESENTATIONS OR
WARRANTIES AS TO THE POTENTIAL SUCCESS OF THE BUSINESS VENTURE UNDERTAKEN BY
FRANCHISEE HEREBY. FRANCHISEE REPRESENTS AND WARRANTS THAT IT HAS ENTERED INTO THIS
AGREEMENT AFTER MAKING INDEPENDENT INVESTIGATIONS OF FRANCHISOR'S BUSINESS, AND NOT
IN RELIANCE UPON ANY REPRESENTATION BY FRANCHISOR AS TO SALES OR PROFITS WHICH
FRANCHISEE IN PARTICULAR MIGHT BE EXPECTED TO REALIZE. FRANCHISEE FURTHER REPRESENTS
AND WARRANTS THAT FRANCHISOR AND ITS REPRESENTATIVES, EMPLOYEES OR AGENTS HAVE MADE
NO REPRESENTATIONS TO INDUCE FRANCHISEE TO ACQUIRE THIS FRANCHISE AND EXECUTE THIS
AGREEMENT WHICH ARE NOT EXPRESSLY SET FORTH HEREIN OR IN THE DISCLOSURE MATERIALS
PROVIDED TO FRANCHISEE PRIOR TO ENTERING INTO THIS AGREEMENT.

19.0 FRANCHISEE acknowledges receiving a copy of this Agreement, the attachments thereto, and agreements
relating thereto, if any, at least five (5) business days prior to the date on which this Agreement was executed.
FRANCHISEE further acknowledges receiving, on the date of the first personal meeting between FRANCHISOR and
FRANCHISEE and not less than ten (10) business days prior to the date on which this Agreement was executed, the
disclosure documents required by the Trade Regulation Rule of the Federal Trade Commission entitled "Disclosure
Requirements and Prohibitions Concerning Franchising and Business Opportunity Ventures".

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SPECIAL TERMS AND CONDITIONS APPLICABLE TO A _
DUNKIN’ DONUTS FRANCHISE

In connection with its business and
has developed and used and continues to u

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logos, emblems and other indicia of origin, service marks and trade names, including Dunkin’ ® which is

“Proprietary Marks"), to

nder and to represent to the public high
and uniform standards of quality, cleanliness, appearance and service.

FRANCHISEE, being cognizant of the distinctive and valuable significance to the public of all of the

foregoing, desires to make use of the trademark Dunkin’ Donuts®, and to enjoy the benefits of that mark, the

other Proprietary Marks and the Dunkin’ Donuts System. FRANCHISEE understands the importance of
FRANCHISOR's high and uniform Standards of quality, cleanliness, appearance and service to the value of the
Dunkin’ Donuts System and the necessity of opening and operating FRANCHISEE's Dunkin’ Donuts Unit in
conformity with the Dunkin’ Donuts System and in accordance with FRANCHISOR's Standards and specifications.

DEFINITIONS

As used in these Special Terms and Conditions applicable to a Dunkin’ Donuts Franchise, the following
defined terms shall have the following meanings

A. The “Dunkin’ Donuts Unit” means all or a portion of the Premises dedicated to the operation of the Dunkin’
Donuts System, as approved by FRANCHISOR,

Sandwiches, coffee, soda, frozen drinks and other beverages
with specifications designated by FRANCHISOR and identifie

other products as may be Specified from time to time in writing by FRANCHISOR for sale in the Dunkin’ Donuts Unit.

Cc. Where applicable, the “Producing Unit’ for this Dunkin’ Donuts Unit is the Dunkin’ Donuts manufacturing unit
designated in Item “M” of the Contract Data Schedule of this Agreement.

Section DD-1. Grant Of The Franchise

1.0 FRANCHISOR grants to FRANCHISEE for and during the term hereof and FRANCHISEE accepts a
Franchise to operate a donut shop utilizing the Dunkin’ Donuts System in accordance with the terms, covenants
and conditions of this agreement, at one location only, the Premises described in Item "A" of the Contract Data
Schedule of this agreement (hereinafter called the “Dunkin' Donuts Unit’). In connection therewith, this Franchise
includes the right to use at the Dunkin’ Donuts Unit only, the trademark Dunkin" Donuts®, along with other
Proprietary Marks owned and utilized by DUNKIN' DONUTS in connection with other Dunkin’ Donuts units, and
the right to use at the Unit only, the Dunkin' Donuts System including confidential and valuable information which

now exists or may be acquired hereafter and set forth in FRANCHISOR's manuals or as otherwise from time to
time disclosed to Dunkin' Donuts franchisees. :

Section DD-2. Scope Of The Franchise

2.0 This Dunkin’ Donuts Franchise is Specific to one location only, for the term of this Agreement. It grants no
rights outside the Premises, nor includes any territorial protection against competition. FRANCHISOR reserves
and retains the right to operate or permit others to operate Dunkin’ Donuts units or to sell or distribute Dunkin’
Donuts products and/or services or to otherwise use the Dunkin’ Donuts Proprietary Marks and/or the Dunkin’
Donuts System, in each case at any other location. FRANCHISOR and other franchisees may compete for

customers drawn from the same area as FRANCHISEE's Dunkin’ Donuts Unit using the same or different
brand(s).

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Section DD-3. Advertising and Promotion

3.0 FRANCHISOR shall prepare and coordinate a

"Grand Opening” promotional advertising program (or such
other advertising program as FRANCHISOR may speci

fy) for the initial opening of the Dunkin’ Donuts Unit

3.1 FRANCHISOR shail review for approval all proposed advertising and promotional materials prepared by
FRANCHISEE for use in local advertising relating to the Dunkin’ Donuts Unit; and

3.3.1. FRANCHISOR shall administer The Du

nkin’ Donuts Advertising and Sales Promotion Fund (the "Dunkin’
Donuts Fund") and shall direct the developme

nt of all advertising, marketing and promotional programs for the
Dunkin’ Donuts System. That portion of FRANCHISEE's payments under Paragraph 4.4 of this Agreement equal

to one percent (1%) of the Gross Sales of the Dunkin’ Donuts Unit will be utilized,.at the discretion of
FRANCHISOR, to provide for the administrative expenses of the Dunkin’ Donuts Fund and for programs designed
to increase sales and enhance and further develop the public reputation and image of DUNKIN' DONUTS and the
Dunkin’ Donuts System. The balance, including any interest earned by the Dunkin’ Donuts Fund, will be used for
advertising and related expenses. Contributions to the Dunkin’ Donuts Fund in excess of the percentage of Gross

Sales of the Dunkin’ Donuts Unit set forth in Item "F" of the Contract Data Schedule shall be used in accordance
with the programs to which they relate.

Section DD-4. Payments

4.4 FRANCHISEE shall make payments to the Dunkin’ Donuts Fund as described in paragraph 4.4 of the
General Terms and Conditions, except that sales to wholesale accounts approved by FRANCHISOR are excluded for
purposes of calculating fees due under paragraph 4.4 (only). For wholesale accounts to be approved by
FRANCHISOR, FRANCHISEE must provide FRANCHISOR prior written notice of each such account. Upon
FRANCHISOR’s receipt of such notice, the account shall be deemed approved, unless FRANCHISOR at any time
notifies FRANCHISEE in writing that such account is not approved. FRANCHISEE shall, within ten (10) days of
receipt of a disapproval notice, discontinue sales to the disapproved wholesale account.

4.41 FRANCHISOR reserves the right

in its sole and absolute discretion to designate or change the
composition of Dunkin’ Donuts Units

included in the base for purposes of determining “two-thirds” support.

Section DD-5. Covenants of FRANCHISEE

5.0 FRANCHISEE understands and acknowled
important to DUNKIN' DONUTS, to FRANCHISEE and
high and uniform standards of quality, cleanliness, ap
increase the demand for Dunkin’ Donuts Products
DUNKIN' DONUTS.

ges that every detail of the Dunkin’ Donuts System is
to other Dunkin’ Donuts franchisees, in order to maintain
pearance, service, products and procedures and thereby
and protect and enhance the reputation and goodwill of

5.1 Unless this Unit is expressly authorized to manufacture donut products on the Premises, and except as
DUNKIN' DONUTS may otherwise authorize and direct in writing, donut products sold at this Unit shall be

produced in the Dunkin' Donuts manufacturing unit located at the address set forth in Item "M" of the Contract
Data Schedule of this Agreement (the “Producing Unit’)

5.1.5.1 Franchisees’ cooperatively-owned distribution centers under the Distributor Commitment Program
(DCP") are currently approved by DUNKIN’ DONUTS to supply franchisees with a variety of ingredients, supplies
and equipment. DUNKIN' DONUTS or an affiliated company may from time to time be among the approved
suppliers of products, supplies, services, equipment and/or materials required for the operation of the Dunkin’
Donuts Unit. If any such party is designated an approved supplier, it will be subject to the same competitive
bidding procedure as other suppliers of the same Dunkin’ Donuts Products.

5.1.5.2. DUNKIN’ DONUTS may, from time to time, enter into national or regional exclusive supply
arrangements with one or more independent suppliers for designated Dunkin’ Donuts Products. In evaluating the
need for an exclusive supplier, DUNKIN' DONUTS may take into account (without limitation) the uniqueness of the
designated Dunkin’ Donuts Products, the projected price and required volume of such Dunkin’ Donuts Products,
the investment required of a supplier in order to meet the needs for such Dunkin’ Donuts Products, the supplier's
ability to provide such Dunkin’ Donuts Products, the lack of availability of qualified alternative suppliers, the

duration of exclusivity, the desirability of competitive bidding and such other business considerations as may be
relevant.

5.2.1 Sales to approved wholesale accounts must be separately designated as “wholesale” on Gross Sales
reports required under paragraph 5.2.1 of the General Terms and Conditions of this Agreement.

5.2.5 FRANCHISEE's Records shall also include, without limitation, daily production, throwaway and finishing
records, and records of all wholesale accounts.

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Section DD-7. Proprietary Marks

7.0 FRANCHISEE acknowledges and agrees that Dunkin’ Donuts®

controlled by DUNKIN' DONUTS; that said mark has been and is being us
franchisees and licensees: that said mark, together with the other Proprieta
by DUNKIN' DONUTS or which may be acquired in the future, constitutes
valuable goodwill is associated with and attached to said mark and the o
and that any and all goodwill associated with the Dunkin’ Donuts Propriet

might be deemed to have arisen through FRANCHISEE's activities, inures
DUNKIN' DONUTS.

is a registered trademark owned or
ed by DUNKIN* DONUTS and by its
ry Marks presently owned or controlled
part of the Dunkin’ Donuts System; that
ther Dunkin’ Donuts Proprietary Marks;
ary Marks, including any goodwill which
directly and exclusively to the benefit of

75 FRANCHISEE shall Operate, advertise and promote the Dunkin’ Donuts Unit under the name "Dunkin!
Donuts", with no accompanying words or symbols of any nature, except as may be otherwise Tequired by law.
FRANCHISEE shall not use, as part of its corporate or other business name, any Proprietary Marks used by
FRANCHISOR, including, but not limited to, "Dunkin’ Donuts" or "Dunkin", or any form or variations thereof,
including, but not limited to, "Dunk" or "D.D.", which, in the judgment of FRANCHISOR, is likely to cause third

parties to be confused or mistaken with respect to the separate identities of DUNKIN' DONUTS and
FRANCHISEE.

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PC 301684, NAPLES, FL
SCHEDULE “DD”
ADDENDUM ONE

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ALLIED DOMECQ QSR
RIDER TO FRANCHISE AGREEMENT

SPECIAL TERMS AND CONDITIONS APPLICABLE TO
A DUNKIN’ DONUTS FRANCHISE

ADDITIONAL PROVISIONS FOR A DUNKIN? DONUTS MANUFACTURING RETAIL UNIT
(A FULL-PRODUCING UNIT)

Section DD-5.1 - Covenants of FRANCHISEE

5.1.4 Percentage Rent - Except as hereinafter set forth, if FRANCHISEE, or, if applicable, the
partners or shareholders of FRANCHISEE, leases this manufacturing Retail Unit from FRANCHISOR or
its designated landlord entity, products manufactured at this Unit for retail sale at other Dunkin' Donuts
units shall not be included in determining percentage rent, if any, as defined in this Unit's lease.
Wholesale sales made from any Dunkin’ Donuts unit supplied by this Unit shall be deemed to be sales
from this Unit and subject to percentage rent and other charges under the terms of such lease for this
Unit. In addition and notwithstanding the foregoing, FRANCHISEE shall pay to FRANCHISOR's
designated landlord entity any percentage rent and other charges which said designated landiord entity
may be required to pay under any underlying lease applicable to this Unit, because of any sales of
products manufactured at this Unit and sold from other Dunkin’ Donuts unit(s). FRANCHISEE shall

execute an amendment to the lease for this Unit in a form satisfactory to FRANCHISOR or its designated
landiord entity, incorporating the foregoing provisions.

5.1.2 Manufacture and Transportation of Products - FRANCHISEE shall not, without the prior
written consent of FRANCHISOR, deliver any products manufactured or finished at this Unit to any other
location(s), except as authorized or directed by FRANCHISOR. FRANCHISOR reserves the right, in its
sole and absolute discretion, to require FRANCHISEE to manufacture, in whole or in part, and/or to finish
at this Unit and to deliver to all authorized non-manufacturing satellite retail units, such products as are

now or hereafter designated as approved for sale at such Dunkin' Donuts units. Products not finished at
this Unit must be finished at the satellite retail units and at no other place unless prior written approval is
granted by FRANCHISOR. FRANCHISEE shall transport products and supplies from this Unit to the
authorized satellite retail units on a schedule and in a manner acceptable to FRANCHISOR that ensures
compliance with federal, state and local regulation as well as FRANCHISOR's sanitation, quality,

freshness and other standards and that an adequate supply of product is available for sale at all times that
such satellite retail units are open for business.

5.1.3 Product and Vehicle Liability Insurance - FRANCHISEE shall also maintain a policy or
policies of product liability, vehicle liability, and non-owned vehicle liability insurance coverages, in the
amounts set forth in paragraph 5.3 of the Franchise Agreement.

Section DD-10. Transfer Provisions

10.3.1 ‘Transfer of this Manufacturing Retail Unit - If FRANCHISEE Shall propose a transfer of an
interest which, alone or together with other previous, simultaneous or proposed transfers, whether related
or unrelated, would have the effect of transferring an interest of fifty percent (50%) or more of the
Franchise for this Unit, or the entity holding such Franchise, FRANCHISOR’s approval of such proposed
transfer shall, in addition to the requirements of Sections 10 and DD-10 of this Agreement, be subject to
the requirement that a controlling interest in all satellite retail units supplied by this Unit must be
transferred to (a) the same qualified transferee, or (b) one or more other qualified transferee(s) who also
satisfy all requirements of Sections 10 and DD-10 of this Agreement, and who also must control one or
more manufacturing Dunkin' Donuts Unit(s) at the time of transfer which FRANCHISOR, in its sole and
absolute discretion, authorizes as the producing unit(s) for the satellite retail Dunkin’ Donuts unit(s)

10.3.2 Transfer of other Dunkin’ Donuts Units supplied by. this Manufacturing Retail Unit - If
FRANCHISOR receives notice of a proposed transfer of an interest which, alone or together with other
previous, simultaneous or proposed transfers, whether related or unrelated, would have the effect of
transferring an interest of fifty percent (60%) or more in any Dunkin’ Donuts Franchise for a retail unit
supplied by this Unit, or the entity holding such Franchise, FRANCHISOR's approval of such proposed
transfer shall, in addition to the requirements of Sections 10 and DD-10 of the Franchise Agreement for
such unit, be subject to the requirement that the proposed transferee must (a) also be a qualified
transferee of this Unit, or (b} one or more other qualified transferee(s) who also satisfy all requirements of
Sections 10 and DD-10 of the Franchise Agreement for such unit, and who also must control another
manufacturing retail Unit at the time of transfer which FRANCHISOR, in its sole and absolute discretion,
authorizes as the manufacturing unit to supply products for such satellite retail unit.

Dunkin’ Donuts Rider - Addendum One
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IN WITNESS WHEREOF the parties hereto, intending to be legally bound hereby,
sealed and delivered this agreement in triplicate, as of the date and year first written above.
FRANCHISEE hereby acknowledges receipt of this Franchise Agreement, together with any
amendments, at least five (5) business days prior to the date hereof. FRANCHISEE further

acknowledges having carefully read this agreement in its entirety, including all Schedules identified
above and the Personal Guaranty below (if applicable)

have duly executed,

FRANCHISOR

ATTEST: DUNKIN' DONUTS INCORPORATED

Mihi Lb ay af, y: 2 OC.

Mary Ann Ormond, /Assistant Secretary Ronald Cumbee, Director of Retail Operations

This agreement is not binding upon the above Corporation(s) until executed and attested by an authorized officer,

FRANCHISEE ACKNOWLEDGES SECTION 11 OF THE GENERAL TERMS & CONDITIONS OF
THIS CONTRACT, WHICH PROVIDES FOR FRANCHISEE’S EXPRESS WAIVER OF RIGHTS TOA
JURY TRIAL, TO PARTICIPATE IN CLASS ACTION LAWSUITS, TO OBTAIN PUNITIVE, MULTIPLE L—
OR EXEMPLARY DAMAGES, AND TO BRING ANY CLAIM OR ACTION LATER THAN TWO YEARS INNIS
AFTER THE DISCOVERY OF THE FACTS GIVING RISE TO SUCH CLAIM OR ACTION.

(Le
FRANCHISEE
WITNESS: CARDILLO CAPITAL, INC.

LZ) KD By: hls a/ Lf
oT u oo Robert T. Cardillo, President
PE L_ GUARANTEE BY SHAREHOLDERS OF A CORPORATION

Jers fi Me uA

OR MEMBERS OF A LIMITED LIABILITY COMPANY

We, the undersigned, represent and warrant that we constitute

[x] the shareholders of one hundred percent (100%) of the originally issued and outstanding capital stock of
the above FRANCHISEE, a corporation

[] one hundred percent (100%) of the members of the above FRANCHISEE limited liability company ("LLC")

organized under the laws of the state of Delaware. Waiving demand and notice, the undersigned hereby, jointly
and severally, personally guarantee the full payment of FRANCHISEE's money obligations under Section 4 and
the performance of all of FRANCHISEE's other obligations under this Franchise Agreement, including, without
limitation, paragraph 6.3 and Section 8, in its entirety relative to the restrictions on the activities of FRANCHISEE.
We personally agree that the Franchise Agreement shall be binding upon each of us personally. The undersigned,
jointly and severally, agree that FRANCHISOR may, without notice to or consent of the undersigned, (a) extend, in
whole or in part, the time for payment of FRANCHISEE's money obligations under paragraph 4; (b) modify, with
the consent of FRANCHISEE, its money or other obligations hereunder; and/or (c) settle, waive or compromise
any claim of FRANCHISOR against FRANCHISEE or any of the undersigned, all without in any way affecting the

personal guarantee of the ese This Oe ‘led to take LMG. instrument.
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oN oS Lud 9. AME

LP “wfess 5 Robert T. Cardillo, individually

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CERTIFICATION OF FRANCHISEE

As a material inducement for FRANCHISOR to grant FRANCHISEE this Franc
individuals who influenced the FRANCHISEE’s decision fo enter into this agreement, hereby disclose to
FRANCHISOR any and all promises, representations, agreements and/or understandings that are not expressly

contained in the Franchise Agreement or the Offering Circulars, but which induced FRANCHISEE to sign this
agreement or influenced FRANCHISEE's decision to sign this agreement:

hise, the undersigned, including all

DESCRIBE BELOW ALL PROMISES, UNDERSTANDINGS AND/OR AGREEMENTS THAT ARE NOT

EXPRESSLY CONTAINED IN THE FRANCHISE AGREEMENT, BUT WHICH INFLUENCED YOUR
DECISION TO BECOME FRANCHISEE.

if there are none, you must write “NONE.”

x

Nore

DESCRIBE BELOW ALL REPRESENTATIONS OR STATEMENTS THAT ARE NOT EXPRESSLY
CONTAINED IN THE FRANCHISE AGREEMENT OR THE OFFERING CIRCULARS BUT WHICH

INFLUENCED YOUR DECISION TO BECOME FRANCHISEE.

if there are none, you must write “NONE.”

if you need more space to answer either query, atlach and sign additional pages.

THE UNDERSIGNED HEREBY CERTIFY THAT THE INFORMATION PROVIDED ABOVE |S TRUE,
and this certification was executed only after obtaining the advice of an attorney.

Dated this |“{_ day of Rucust , 2001

Witness: CARDILLO CABIFAL, INC.
£ teak By: ha Ail

itness Robeft T. Cardillo, President & individually
